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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SHANNON SCHULTE, on behalf of                   )
herself and all others similarly situated       )
                                                )
                                Plaintiff,      )       Case No. 09-cv-6655
         -v-                                    )
                                                )       Judge Robert M. Dow, Jr.
FIFTH THIRD BANK                                )
                                                )
                                Defendant.      )
                                                )

                           MEMORANDUM OPINION AND ORDER

         Before the Court is the settling parties’ motion for final approval of the settlement and

Class Counsel’s motion for approval of attorneys’ fees, costs, and expenses, and for approval of

incentive awards for the Class Representatives [103]. For the reasons explained below, the

motion is granted in part and denied in part. Specifically, the Court (1) grants final approval of

the settlement, finding that the settlement is fair, reasonable, and adequate; (2) approves Class

Counsel’s request for attorneys’ fees of $3,166,666; (3) denies Class Counsel’s request for cost

and expense reimbursement without prejudice; and (4) approves an incentive award of $1,000

each for the Class Representatives, Shannon Schulte and Marlene Willard.

I.       Factual Background

         A.     History of the Litigation

         Plaintiff filed her class action complaint in this case [1]1 on November 21, 2009. In their


1
  On February 1, 2010, Marlene Willard filed a similar action in the Northern District of Georgia against
Fifth Third. Willard v. Fifth Third Bank, N.D. Ga., Case No. 1:10-CV-0271-JOF. While Willard is not a
party to this action, she is a party to the Settlement Agreement, which provides that upon entry of final
approval, the Willard action will be dismissed with prejudice. Willard and Schulte together are referred
to as “Plaintiffs” or the “Class Representatives.” The Settlement Agreement refers to the Schulte and
Willard cases as the “Actions.”



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complaints, Plaintiffs allege that they were Fifth Third2 accountholders and had used a debit card

in connection with their accounts. Plaintiffs further allege that Fifth Third improperly assessed

them (and other Fifth Third customers) overdraft fees for insufficient funds on debit card

purchases and ATM withdrawals by “re-sequencing” transactions in order to maximize the

number of overdraft fees.          To explain, Fifth Third did not process debit card and ATM

transactions in strict chronological order; rather, within a given posting period, the bank

processed the transactions in high-to-low order. If a customer overdrew his account, posting

transactions in a high-to-low order sometimes resulted in Fifth Third charging the customer a

higher number of overdraft fees than it would have charged had it posted the transactions

chronologically. Plaintiffs allege that Fifth Third’s practice was unlawful and caused them and

others similarly situated to suffer financial injury.

          On February 16, 2010, Defendant filed a motion to dismiss the Schulte case [17].

          On March 2, 2010, the United States Judicial Panel on Multidistrict Litigation (“JPML”),

entered a Conditional Transfer Order (“CTO 13”) conditionally transferring the Actions to the

Southern District of Florida, where the Multidistrict Litigation, In re Checking Account

Overdraft Litigation, MDL No. 2036 (the “Overdraft MDL”), was and remains pending. Shortly

thereafter, Plaintiffs and Defendant filed oppositions to CTO 13 and, on April 2, 2010, Fifth

Third filed a motion with the JPML requesting that the Actions be transferred to this Court for

coordinated or consolidated pretrial proceedings.

          That same day, Objector Michelle Keyes, who is represented, inter alia, by various

counsel from the Overdraft MDL, filed a complaint against Fifth Third in the United States

District Court for the Southern District of Florida. See Keyes v. Fifth Third Bank, Case No. 10-

cv-21283 (S.D. Fla.). Less than a week later, on April 7, 2010, Objector Keyes requested that
2
    The Court will refer to Defendant Fifth Third Bank as “Fifth Third” or “Defendant.”


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her case be consolidated into the Overdraft MDL; that request was granted on April 19, 2010.

On April 19, 2010, an attorney representing Objector Keyes sent a letter to the JPML arguing

that Defendant’s motion to transfer the Actions was inappropriate, because it would create a new

MDL and Objector Keyes’ case had already been consolidated into the Overdraft MDL.

        On May 27, 2010, the parties entered into the Settlement Agreement, the terms of which

are discussed below. That day, the parties filed a motion for preliminary approval of the

settlement [35].3

        Later that day, counsel for the settling parties notified the JPML that the parties had

entered into the Settlement Agreement and, on June 3, 2010, the JPML vacated CTO 13. The

JPML reasoned that in light of the settlement reached between Plaintiffs and Defendant, the

Schulte and Willard cases should not be transferred into the Overdraft MDL. The Panel further

ruled that the Schulte and Willard cases should not be centralized as a separate and new MDL in

this district. The Panel noted that its ruling does not bar either the creation of a new MDL, or the

transfer of the Actions to the Overdraft MDL, in the event that the settlement here was not

approved or did not fully resolve those actions.

        On June 9, 2010, Objectors Michelle Keyes, Amanda Ratliff and Verdel Ratliff appeared

and filed objections to the motion for preliminary approval of the proposed settlement [39]. The

Court postponed ruling on the motion for preliminary approval to allow the parties time to

respond in writing to the objections.          See [45, 46].      Objectors Keyes and the Ratliffs

subsequently filed a copy of the Findings of Fact and Conclusions of Law After Bench Trial

issued in Guitierrez v. Wells Fargo Bank, 730 F. Supp. 2d 1080 (N.D. Cal. 2010) [53], another

case involving overdraft fees resulting from debit reordering, which the Objectors argued

3
  The Settlement Agreement is attached as Ex. A to Plaintiffs’ motion for final approval of the settlement
[103].



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supported their position that the settlement here should not be preliminarily approved. The

parties each responded to that filing [54, 57].

        After considering the arguments from the parties and from the Keyes and Ratliff

Objectors, on September 10, 2010, the Court entered an order addressing the various objections

and (1) preliminarily approving the settlement; (2) approving the notice plan; (3) appointing a

notice specialist and claims administrator; (4) certifying the Settlement Class for settlement

purposes only; (5) appointing Class Counsel; and (6) scheduling a final fairness hearing to

consider final approval of the settlement [59]. The Court subsequently reset the final fairness

hearing to March 3, 2011 [70].4

        Beginning in January, 2010, a number of Class Members submitted objections to the

settlement.5 On March 7, the parties each filed their memoranda in support of final approval

[102, 103], which, inter alia, responded to the various objections. After denying a request by the

parties to conduct discovery on some of the objectors (see [111]), the Court held a fairness

hearing on March 16, 2011 [112], at which time the Court heard argument from counsel for the

parties and from a number of objectors. Subsequently, the Court requested additional briefing on

one issue raised at the fairness hearing [117], and the parties provided that briefing shortly

4
  On November 8, 2010, the Court denied a motion by the Keyes and Ratliff Objectors to amend the
schedule that the Court had set for considering final approval of the settlement. [68]. The Objectors had
asked the Court to (1) amend the schedule ex ante to provide objectors an opportunity to file a reply brief
in support of their objections, and (2) delay the final approval hearing until after the close of the claims
period.
5
  The Settlement Agreement, at § 19, provided a procedure for the filing of objections. To be considered
valid, an objection had to be filed with the Clerk of the Court at least 21 days before the final approval
hearing and sent to Class Counsel and Defendant’s counsel. The Settlement Agreement also imposed a
number of requirements on the objection itself; for example, objectors were required to include “a list of
all other objections filed by the objector during the five years prior to the date the objection was filed.”
Id. With the agreement of counsel for the parties, the Court has considered all of the objections that it
received, regardless of whether the objections were properly and timely filed with the Court, or complied
with the other formal requirements. However, Plaintiffs preserve their right to challenge improperly-
submitted objections on the basis of their invalidity. See Pl. Mem. at 19 n.11.



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thereafter [118]. Finally, on June 3, 2011, the Keyes and Ratliff Objectors filed a Notice of

Recent Developments in Support of Objections, in which they notified the Court of an order

preliminarily approving a settlement in MDL 2036.

          B.       Terms of the Settlement6

          The Court here briefly summarizes the more important provisions of the Settlement

Agreement.        The Agreement and Preliminary Approval Order define the relevant class as

follows:

          All persons in the United States who hold or held a Fifth Third Account who at
          any time during the Class Period incurred at least one Overdraft Fee (as defined in
          the Settlement Agreement) associated with at least one Fifth Third Debit Card
          Transaction.

          Excluded from the Settlement Class are Fifth Third Bank, any parent, subsidiary,
          affiliate or sister company of Fifth Third Bank, and all officers or directors of
          Fifth Third Bank, or any parent, subsidiary, affiliate or sister company at any time
          during the Class Period, and the legal representatives, heirs, successors, and
          assigns of any of the foregoing. The Court presiding over any motion to approve
          the Settlement Agreement is excluded from the Settlement Class. Also excluded
          from the Settlement Class is any person who timely submits a valid request to be
          excluded from this Settlement.

¶ 7; Preliminary Approval Order [59] at 10. The class period is from October 21, 2004 through

July 1, 2010. ¶ 1(d). The term “Overdraft Fee” means an “insufficient funds fee, overdraft fee,

or other similar fee, incurred as a result of the ‘re-sequencing’ of a Fifth Third Debit Card

Transaction in non-chronological order that was not previously reversed, refunded, or returned to

the Settlement Class Member by Defendant.” ¶ 1(s). The term “re-sequencing” is not defined in

the Agreement or elsewhere. A “Fifth Third Debit Card Transaction” is a transaction that is

“effectuated with or relating to such Fifth Third Debit Card(s), including but not limited to

automatic teller machine (“ATM”) transactions and point of sale (“POS”) transactions.” ¶ 1(l).



6
    Unless otherwise indicated, all citations in this section are to the Settlement Agreement.


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Accordingly, the settlement covers overdraft fees that result from debit card purchases and ATM

transactions, but not fees that are the result of the payment of checks or other transfers.

       The settlement provides for the creation of a $9,500,000 settlement fund from which

Class Members may receive reimbursement for overdraft charges incurred during any one

continuous forty-five day period within the Class Period. ¶¶ 9, 23-24. There is no cap on the

amount that an individual Class Member may recover. If, after fees, costs, expenses, and

incentive awards are paid, the amount claimed by Class Members is less than the remaining

amount, the remainder will be distributed to claimants on a pro rata basis, with each such Class

Member receiving up to (but not exceeding) three times the amount claimed on his or her claim

form. After that, any remaining amounts will be distributed under the cy pres doctrine to one

nonprofit credit counseling organization in each of the twelve states in which Fifth Third has

branches. See ¶¶ 30, 31.

       In order to obtain these benefits, Class Members are required to fill out a claim form.

Dissatisfaction with the claim form (in fact, with the entire claims process) has been the subject

of many of the objections submitted to the Court. Following the preliminary approval order, in

which the Court expressed some skepticism regarding the claims process ([59] at 8-9), the parties

submitted a revised claim form [62], which the Court approved [64]. On the revised form, Class

Members must provide their name, address, social security or tax identification number, and

account number(s) with Fifth Third. Class Members can then choose one of two options for

submitting a claim. “Option 1” is the option for customers who “do not have all of [their]

records,” and allows the Class Member to make a claim “to the best of [his or her] knowledge or

belief.” Class Members are asked to identify a year, and then estimate the number of Overdraft

Fees incurred during any 45-day period within that year, along with the aggregate amount of fees




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charged during that 45-day period. Class Members are not asked to identify the specific 45-day

period for which they are making a claim, only the year. “Option 2” is for customers who “used

[their] bank statements and/or other records to determine the information” that they were

providing. Under that option, the Class Member was to identify the number and amount of

“Overdraft Fees” incurred in a particular 45-day period. Under both options, the Class Member

was asked to “declare under penalty of perjury that I believe that the information I am providing

is true and correct to the best of my knowledge and belief.” (emphasis in original).

        The settlement also provides for non-monetary consideration.              By entering into the

settlement, Fifth Third agrees to modify its business practices to no longer re-sequence debits

from highest to lowest amount; instead, it will process all charges in the order that they are

presented to Defendant for payment. ¶ 10(a).7 Fifth Third further agrees to train its call center

telephone operators on issues related to overdraft charges and to authorize those operators to

waive any overdraft fee for good cause (including an automatic waiver of one overdraft fee per

year, plus those resulting from errors in account reporting and other hardship situations such as

hospitalization or illness causing an inability to examine account balances). ¶ 10(b).

        In addition to paying Class Members, the $9.5 million settlement fund was also intended

to be used to pay all attorneys’ fees, costs and expenses, incentive payments, and the costs of

claims administration and notice. ¶ 9; see also ¶¶ 14; 20.8 To date, $1,000,984.18 had been paid

from the fund to cover such costs. Further, in a letter to the Court, the parties indicated that as of

7
  At the fairness hearing, counsel for Defendant informed the Court that the injunctive relief provided for
in the Settlement Agreement “will be fully implemented by the first quarter of 2011.” Transcript of Final
Fairness Hearing [120] at 46:25-47-1. As the Court has had no indication that that schedule has been
delayed, the Court assumes that the prospective relief is now in place.
8
 However, Defendant agreed to directly pay for the portion of the notice costs that involved notices on
Defendant’s website or in the monthly statements that Defendant sends to its customers (i.e., these costs
were not paid out of the fund). ¶ 15. Defendant has paid at least $416,000 out of pocket to cover such
costs. Pl. Mem. [103] at 6.


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May 18, 2011, they “have agreed that the Settlement Fund will not be required to pay any more

of the notice and claims administration costs * * *” [119]. It appears that Defendant has paid at

least an additional $668,580.52 out of pocket to cover notice and claims administration costs.

See [113]. The Agreement provides that Class Counsel will “seek approval of the Court for

payment of not more than one-third of the Settlement Fund for attorneys’ fees.” ¶ 11. The

Agreement also provides for an incentive award not to exceed $1,000 for Plaintiffs Schulte and

Willard. ¶ 12. In their motion [103], Class Counsel requests $3,166,666 (which is 33.3% of the

settlement fund) in attorneys’ fees, and $54,281.32 as reimbursement for costs and expenses.

Counsel also requests an incentive award of $1,000 for Plaintiffs Schulte and Willard.

       Once the settlement becomes final (see ¶ 32), Class Members will be bound to a broad

release. ¶ 34. The Agreement provides that Defendant “expressly denies any and all liability” in

the lawsuits. ¶ 33.

       As of May 13, 2011, the claims administrator had received “over 100,000 claims.”

Parties Supplemental Mem. [118] at 1. In contrast to this high participation rate, 342 Class

Members excluded themselves from the settlement, and 15 Class Members submitted 13 separate

objections to the settlement.

       C.      Plaintiffs’ Expert Report

       As explained in detail below, before the Court can finally approve the settlement, it must

first quantify the “net expected value of continued litigation to the class.” Synfuel Techs., Inc. v.

DHL Express (USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006). For that reason, in its order

preliminarily approving the settlement, the Court called for the parties to provide at the final

approval stage “evidence that would enable the Court to determine the potential value of Class

Members’ claims.” [59] at 5.




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        In response to that directive, Plaintiffs have attached to their memorandum in support of

final approval an expert report prepared by Mr. Thomas A. Tarter, an expert in banking and

financial institutions.9 Class Counsel retained Mr. Tarter to estimate: (1) the amount of excess

overdraft fees caused by Defendant’s practice of re-sequencing debit card and ATM transactions

from the highest to lowest amount during the class period; and (2) the present value of

Defendant’s change in business practices, required under the settlement, to no longer re-sequence

debit card and ATM transactions. Tarter Expert Report at 6. Mr. Tarter estimates that during the

class period, Defendant collected approximately $97.7 million as a result of its re-sequencing

policy. Id. at 15. Mr. Tarter also estimates that the present value of Fifth Third’s agreement to

end its practice of re-sequencing is $58.8 million over the next five years, or $108.8 million over

the next ten years (computed at a 3.5% discount rate). Id. at 15-16.

        In order to reach his opinions, Mr. Tarter reviewed various documents including the

complaint, settlement-related documents, Defendant’s public filings and web site, and

information provided by Defendant including non-public and confidential documents and data.

Id. at 5.

        To estimate total “Excess OD Fees” (Mr. Tarter’s term for earnings from overdraft fees

resulting from re-sequencing), Mr. Tarter multiplied the net overdraft fees attributable to debit

card and ATM transactions by the probability that the fees collected by FTB were the result of

9
  No one has challenged Mr. Tarter’s experience and qualifications, so the Court need not discuss them in
detail. Briefly, Mr. Tarter holds a B.S. in business from the University of California at Los Angeles and
an M.B.A. from Santa Clara University. Mr. Tarter is currently the managing director of the Andela
Consulting Group, a consulting firm whose services include research, management consulting (especially
for troubled companies), litigation consulting, and expert witness services. Mr. Tarter’s experience in the
banking industry spans more than 40 years. Mr. Tarter has worked as a financial and management
consultant, business advisor, and board member for public and private companies engaged in deposit
transactions. Mr. Tarter has also been a senior bank officer at four banks, has served on the boards of
directors for two banks, and has served as an independent outside director and chair of the audit
committee for a large mortgage company.



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re-sequencing. First, using data provided by Defendant, Mr. Tarter took the total amount of

overdraft fees received from customers for each month during the class period (adjusted for

waivers, reversals and charge offs).10 He then multiplied these monthly charge amounts by .57,

to reflect that approximately 57% of overdraft fees were generated by debit card and ATM

transactions. See id. at 8. These monthly totals gave Mr. Tarter an estimation of the total

monthly amounts of overdraft fees collected by Defendant that resulted from debit card or ATM

transactions. Mr. Tarter then attempted to estimate how much of these totals were “Excess OD

Fees.”

         Defendant provided Mr. Tarter with the average number of overdraft fees charged to

customers who incurred one or more overdraft fee for each month during the class period. Id. at

9. (Over the class period, the average number of overdraft fees for this customer population

ranged between 3.12 and 4.24 fees per month). Mr. Tarter recognized that there was a direct

relationship between the number of overdraft fees charged to a customer in any given day11 and

the likelihood that one or more of the fees was the result of re-sequencing. When a fee was the

result of re-sequencing, Mr. Tarter called it a “mismatch.” Using a set of matrices, Mr. Tarter

calculated that the probability of mismatch was 0% where there was only one overdraft

transaction,12 10% for two, 17.65% for three, and 20.21% for four. Id. at 11. These probabilities

were plotted on a graph, and a “best-fit” curve was created, which enabled Mr. Tarter to

10
   For example, Defendant received $15,546,166 in February 2006 from overdraft fees paid by its
customers (after waiving, reversing, or charging off $1,647,754). Ex. E-1 to Tarter Report.
11
   The Court uses the word “day” here, but technically, Defendant processes debits for the purpose of
assessing overdraft fees at the end of each “business cycle.” A “business cycle” is the end of the business
day Tuesday through Friday. Id. at 9. Processing at the end of the day on Monday incorporates
transactions made since the end of the banking day on the previous Friday. Id.
12
 Of course, if a customer was assessed only one overdraft fee within a given posting period, the order in
which the debits were posted would not have had any effect on the number of fees assessed.



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calculate the probability of “mismatch” for average numbers of overdraft transactions that were

not whole numbers.13

         Mr. Tarter calculated the total amount of Excess OD Fees for three different scenarios,

assessing the likely total Excess OD Fees depending on whether the average number of fees

assessed per month all occur on one day, or are spread over two or three days. Mr. Tarter

reasoned that if overdrafts were spread over two or three days, the percentage of OD fees that

were “mismatched” would be lower. To calculate Excess OD Fees, assuming the average

number of fees assessed per month all occur on one day, Mr. Tarter multiplied 57% of the total

amount of overdraft fees collected for a given month by the mismatch probability for that month.

Each month’s totals were then summed, giving Fifth Third’s total Excess OD Fee earnings for

the entire class period, assuming the average number of fees assessed per month all occurred on

one day. The calculation assuming the average number of fees assessed per month occurred on

two or three days was identical, except that Mr. Tarter divided the probability of a “mismatch”

by two or three, respectively, to reflect the chance that overdrafts within a particular month were

spread over two or three days.

         Ultimately, Mr. Tarter concluded, based on his experience in banking, that the average

number of overdraft fees assessed per month would likely be spread over two or three days. This

assumption was based on the fact that most people are paid by their employers either twice or

three times per month, and individuals are most likely to overdraft their accounts the day before

they are paid. Id. at 9. Thus, to calculate Excess OD Fees for the class period, Mr. Tarter

averaged the total Excess OD Fees collected, where the average number of overdraft fees


13
   For an example, the Court returns to February 2006. Since the average number of fees assessed on
customers who incurred at least one fee during that month was 3.19, if all of the fees were assessed on
one day (explained below), Tarter estimates that 18.3% of the fees collected during that month were the
result of re-sequencing. Ex. E-1 to Tarter Report.


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assessed per month would likely be spread over two or three days. This resulted in a figure of

$97.7 million.14

         Mr. Tarter then estimated the present value of Defendant’s change in business practices,

required under the settlement, to no longer re-sequence debit card and ATM transactions. In

determining this figure, Mr. Tarter had to account for Regulation E, which became effective in

July and August of 2010. This regulation provided that accountholders can only be assessed

overdraft fees for debit and ATM transactions if they have affirmatively authorized a bank to

allow them to overdraft their account—otherwise, the transaction is simply declined. Id at 13.

Analysis of data provided by Defendant indicated that Regulation E is associated with a 36%

decrease in overdraft fee revenue.

         Thus, to estimate the present value of the settlement’s requirement that Defendant no

longer re-sequence, Mr. Tarter used the most recent completed calendar year for which data was

available, 2009, to calculate Defendant’s likely theoretical future earnings from re-sequencing.

In this calculation, the estimated Excess OD Fees for 2009 were reduced by 36% to take into

account Regulation E. Id at 14. The resulting figure was discounted at a rate of 3.50% (to

correlate with the 10-year U.S. Treasury Bond) for five and ten years, resulting in a net present

value of $58.8 million over five years or $108.3 million over ten years in losses to Defendant

resulting from the settlement’s requirement that it no longer engage in re-sequencing.

         D.     Defendant’s Damage Calculation

         Attached to their memorandum in support of final approval of the settlement (Ex. 1 to

[102]), Defendant includes its own damage calculation that estimates that “the impact of high-to-

14
  As a side note, Mr. Tarter cites a report from the American Bankers Association for the proposition that
77% of U.S. deposit accountholders polled said that they had not paid any debit card overdraft fees during
the 12-month period preceding mid-August 2010. Tarter Report at 7. Accordingly, Mr. Tarter concluded
that “the great majority of [Defendant’s] customers would not be affected by the Settlement Agreement.”
Id. at 8.


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low posting on debit and ATM transactions during the Class Period was $16,752,710 annually.”

See Affidavit of Kevin Sullivan, Senior Vice President, CFO-Retail, Banking (“Sullivan Aff.”), ¶

9.      Extrapolated out over the entire class period, that figure amounts to approximately

$95,281,038.

           Mr. Sullivan explains that over the class period, Fifth Third realized an average total of

approximately $244,922,667 per year in overdraft fees.15 This figure represents all overdraft

fees, not just those that resulted from debit card or ATM transactions. Fifth Third determined

that “approximately 57% of the yearly realized overdraft fees were the result of a debit card or

ATM transaction.” Id. ¶ 8. Thus, multiplying the above figure by .57 resulted in average yearly

overdraft fees of $139,605,920 that were the result of debit card and ATM transactions. Using

financial models that Fifth Third prepared for its periodic regulatory filings, Fifth Third

estimated that approximately 12% of the overdraft fees relating to debit card and ATM

transactions were attributable to its use of a high-to-low posting order. Id. ¶ 9. Thus, the

“estimated impact of high-to-low posting on debit and ATM transactions during the Class Period

was $16,752,710 annually,” id., which is $1,396,059 per month, or $95,281,038 over a 68.25-

month class period.

           Fifth Third’s data further showed that approximately 72% of the overdraft fee revenue

was generated by the approximately 7% of Fifth Third’s customers who overdrafted six or more

times a month. Id. ¶ 10. Adjusting for these “chronic overdrafters,” the “total estimated impact

of high-to-low posting on debit card and ATM transactions for the 93% ‘non-frequent

overdrafters’ was * * * $26,711,266” over the entire class period. Id. ¶ 11.




15
     This figure is adjusted for waivers, reversals, and charge-offs.


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       E.      Objections to the Settlement

       As noted above, construing the term “objection” broadly, 15 Class Members filed 13

separate objections to the settlement. The Court summarizes each of the objections below.

               1.      Keyes and Ratliff, and Kannapel Objections

       Objectors Michelle Keyes, Amanda Ratliff, Verdel Ratliff, and Laura Kannapel are each

represented by members of the Plaintiffs’ Executive Committee (“PEC”) in the Overdraft MDL.

Objectors Keyes, Amanda Ratliff, and Verdel Ratliff filed an objection [90] that challenges the

settlement on numerous grounds. Objector Kannapel filed a separate objection [91]. In further

support of their objection, the Keyes/Ratliff Objectors filed the preliminary approval order of a

settlement agreement reached between the plaintiffs and defendant Bank of America in the

Overdraft MDL [121]. The Court will discuss these objections together and will refer to the two

groups of objectors collectively as the “PEC Objectors.”

                       a.     Amount of Settlement Fund and Criticism of Expert Report

       The PEC Objectors argue that given the potentially high value of Class Members’ claims,

the amount that the settlement fund provides to reimburse Class Members is inadequate.

       Before discussing this objection, the Court should note that pursuant to the schedule set

by the Court, the PEC Objectors’ filed their objections before the parties filed their briefs in

support of the settlement. As discussed in detail above, Plaintiffs’ brief attached and discussed

the Tarter Expert Report and Defendant provided its own damages calculation. In their opening

objections, the PEC Objectors argued that the Court could not grant final approval because the

settling parties had, at the time those objections were filed, failed to provide evidence that would

enable the Court to determine the value of Class Members’ claims. See, e.g. Keyes/Ratliff




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Objection at 3-4; Kannapel Objection at 4-5. The filing of the Tarter Report and Sullivan

Affidavit corrected this deficiency, and so, the Court need not discuss these arguments further.

         After receiving the parties’ memoranda in support of final approval, the PEC Objectors

did not seek leave to file a reply brief to attack the Tarter Report or Sullivan Affidavit (or to

address any other issues with the parties’ memoranda).16 However, at the fairness hearing,

counsel for Objectors Keyes and Ratliff did offer two specific criticisms of the way in which Mr.

Tarter calculated the value of the class’s claims. See Fairness Hearing Tr. at 96-100. First, the

Keyes/Ratliff Objectors note that while Mr. Tarter recognized that those individuals who

incurred only one overdraft fee in a month could not be Class Members, the population from

which he obtained his average number of fees charged per month was customers who incurred

one or more overdraft fees for each month during the class period. Tarter Report at 9. Counsel

argues that there is no way to know how much this “mistake” skewed Mr. Tarter’s results.

Second, Mr. Tarter assumed that because 57 percent of all transactions were debit card or ATM

transactions, 57 percent of overdraft fees were attributable to debit card or ATM transactions.

Counsel argues that this is a non sequitur. In fact, according to counsel, a customer would

probably be more likely to overdraft when making a debit card transaction than when writing a

check. Fairness Hearing Tr. at 98-99 (“Debit cards probably account for 95 percent of the

overdraft fees.”).

         Because the PEC Objectors could not challenge the Tarter Report or Sullivan Affidavit in

their opening objections, the PEC Objectors instead pointed to settlements and verdicts in other

cases involving claims similar to those at issue in this lawsuit as proof that the settlement amount


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   In a previous order (see [68] at 2), the Court indicated that it would entertain a motion by the PEC
Objectors for leave to file a reply brief in support of their objections. The PEC Objectors decided not to
take the Court up on this offer.



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here is inadequate. Specifically, the objectors argue that the decision in Gutierrez v. Wells Fargo

Bank¸ Case No. C07-05923 WHA (N.D. Cal. Aug. 10, 2010), where a judge excoriated Wells

Fargo for its debit reordering practices and ordered it to pay $203 million in restitution to its

California customers and cease its reordering practices, is evidence of the inadequacy of this

settlement.   Keyes/Ratliff Obj. at 5-6.      The Court discussed the Gutierrez decision in its

preliminary approval order ([59] at 6 n.4) and will do so again below. Further, the objectors

point to a settlement reached in the Overdraft MDL between the plaintiffs there and Bank of

America, in which Bank of America agreed to pay class members $410 million to resolve the

claims pending against it in that litigation. See Ex. A to [121]. The Court will address the

objection about the size of the $9.5 million fund in detail below, along with each of the other

objections raised.

                        b.      Benefits Allocation

        The PEC Objectors argue that the distribution of the settlement proceeds is arbitrary and

capricious, resulting in unwarranted inequitable treatment of Class Members. Keyes/Ratliff Obj.

at 7-9; Kannapel Obj. at 7-10. Objectors argue that by forcing Class Members to choose a single

45-day period in which to claim a refund of overdraft charges, the settlement will unfairly

“benefit[] a Class Member who incurred the brunt of his or her overdraft fees over a short period

of time at the expense of another Class Member who accumulated a larger amount of

impermissible fees over a greater period of time.” Kannapel Obj. at 8. For instance, a customer

who incurred a total amount of overdraft fees of $100, but incurred them all in one month, may

be entitled to a full refund. However, a customer who incurred $1,000 in total fees, spread out

evenly over a two-year period, could only recover approximately $63. Further, the Objectors

take issue with the fact that funds left over after the initial distribution are to be used to pay up to




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treble damages to Class Members who have already been compensated, instead of being used to

refund Class Members for charges from outside the 45-day period.

                       c.      Claims Process

       The PEC Objectors argue that the claims process is unnecessary and that it is unduly

burdensome on Class Members and deters claims.

       First, the Objectors have a fundamental disagreement with the need for a claims process.

The Objectors argue that because the identity of Class Members and the amount that each has

been overcharged can be determined from Fifth Third’s records, there is no need for customers to

submit a claim form. Instead, argue the Objectors, Fifth Third should simply send payments

directly to Class Members. The Keyes/Ratliff Objectors argue that “[t]he Bank of America

settlement demonstrates the feasibility of a direct distribution of settlement benefits to class

members without the requirement of self identification.” [121] at 1. “There, the settlement

administrator will identify class members and the harm they incurred for the [class period] and

then class members will have a credit posted to their account, or in the case of former customers,

have a check sent to their most recent address.” Id.

       Next, the Objectors identify problems with the claims process as it is employed in this

case. First, as the Court explained in its order calling for additional briefing [117], the Objectors

argued that it would be impossible for any Class Member to submit a claim in good faith on the

basis of the settlement documents as they currently are written. Id.; see also Kannapel Obj. at

12; Fairness Hearing Tr. at 73-78. As the Court also explained in its prior order, under both

options in the claim form, a Class Member must identify an amount of “Overdraft Fees” that he

or she incurred during a particular time period. Again, the term “Overdraft Fee” means “an

insufficient funds fee, overdraft fee, returned item fee, daily overdraft fee, overlimit fee, or other




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similar fee, incurred as a result of the ‘re-sequencing’ of a Fifth Third Debit Card Transaction in

non-chronological order that was not previously reversed or refunded.”           According to the

Objectors, a major problem with the settlement is that Class Members have no way of knowing

which fees were the “result of [* * *] ‘re-sequencing’” such that they could accurately fill out the

form and make a claim. The Objectors argue that Defendant has not disclosed how it determines

the order in which charges are posted to customers’ accounts. Counsel further submitted that a

Class Member viewing his or her statement would not be able to determine which fees were

“Overdraft Fees” in part because the statements do not indicate the date on which charges were

posted within a posting period—they only indicate the date on which a purchase was made.

       Next, the Objectors vociferously object to Fifth Third’s refusal to make Class Members’

statements over the 69-month class period available for free so that Class Members can

accurately fill out claim forms. The Settlement Agreement only provides free statements for a

period going back 16 months from the date of request by the Class Member. A customer must

pay $5 per month for additional statements. The 16-month period of “free statements” does not

appear to be a concession to Class Members as part of the settlement; rather, it appears to be

Fifth Third’s standard practice with regard to making past statements available to customers.

The Objectors argue that the requirement that Class Members pay Fifth Third for the records that

they need to determine the value of their claims is unfair and intended to deter claims.

                       d.     Amount of Discovery Conducted at Time of Settlement

       Finally, the PEC Objectors argue that the absence of pre-settlement discovery

demonstrates that Class Counsel failed to properly evaluate the merits of the claims at issue in

this litigation. Keyes/Ratliff Obj. at 3; 10-11; Kannapel Obj. at 6. The Objectors point out that

the “docket reflects that no formal or informal discovery was conducted, and the settlement




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reached at the early stage of the proceedings suggests that none was conducted.” Keyes/Ratliff

Obj. at 10. Further, the Objectors argue that the 30-day period of “confirmatory discovery”

provided for in the Settlement Agreement is “an inadequate substitute for adversary discovery.”

Id. at 11.

               2.      Vitali Objection

        Aaron Vitali raises a number of objections to the settlement. See Vitali Obj. [88]. First,

Mr. Vitali takes issue with the fact that Defendant “[has] not admitted guilt.” To Mr. Vitali, this

“is much more important than any nominal fee or recovery.” Next, Mr. Vitali argues that the

class period ends on July 1, 2010, and Defendant will have no “repercussions” and Class

Members will have no recovery “for the months post July 2010.” In recognition of lost interest

and “emotional and financial hardship” suffered by customers as a result of Defendant’s conduct,

Mr. Vital proposes that interest “be taken into account when repaying the fees incurred.” Next,

Mr. Vitali objects that “Fifth Third is only willing to refund a 45 day window of fees”— Mr.

Vitali feels that Fifth Third should refund all fees wrongfully obtained. Furthermore, Mr. Vitali

argues that the “online data provided only goes back 16 months” and “the only ones who can

bring up past data about closed accounts or older accounts is Fifth Third.” Mr. Vitali asserts that

Fifth Third (or rather, an independent agency working with Fifth Third) should determine the

amount of refund owed to each Class Member. Mr. Vitali appeared at the fairness hearing and

reiterated these objections.

               3.       Katz Objection

        Joshua K. Katz raises three objections to the settlement. See Katz Obj. [93]. First, Mr.

Katz argues that the proposed settlement fund is too small. Second, Mr. Katz argues that the

court in the Overdraft MDL has already “considered and rejected” some of the arguments that




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Defendant makes in its motion to dismiss. Mr. Katz argues that this shows that the “plaintiff’s

case rests on very solid ground [* * * and therefore] there is no justification for accepting such a

small amount in comparison to the amount of money wrongfully realized by the defendant.”

Katz Obj. at 1. Mr. Katz’s third objection is “that the settlement contains a provision whereby

the defendants will actually make money from the class members if they need to obtain their

banking records in order to submit a claim.” Id. In this settlement, because a Class Member

“may not be aware of what specific 45-day period should be used in submitting his or her claim,”

there is a “legitimate need to examine 5 years’ worth of records to make this decision.” Mr. Katz

argues that Defendant should provide customer records for the entire class period to those who

request them at no charge.

               4.      Scyoc Objection

       David R. Scyoc identifies three problems with the proposed settlement and makes three

proposals as to how Defendant’s business practices should be changed going forward. See

Scyoc Obj. [96]. First, Mr. Scyoc argues that the class period should extend through December

31, 2010. Scyoc also objects that a “45 continuous days claim period is too restrictive;” instead,

a Class Member should choose “any 45 [presumably non-contiguous] days during [the] claim

period.” Finally, like Objector Katz, Mr. Scyoc argues that “16 months [of] free statements is

too restrictive.” With regard to the change in Defendant’s business practices, Mr. Scyoc believes

that instead of agreeing to process charges chronologically, Defendant should “process all

charges from lowest to highest unless requested otherwise by [the] customer in writing.”

Further, the bank should “reject/deny all prospective charges if [there are] insufficient funds in

[the] customer’s account unless [the] customer has requested otherwise in writing.” Finally, Mr.




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Scyoc argues that Defendant should “credit deposits first, before processing debits.” Mr. Scyoc

appeared at the fairness hearing and reiterated these objections.

               5.      Ackerson Objection

       Objector Roger Ackerson did not file his objection; instead it was mailed directly to the

Court and to Class Counsel. Class Counsel attached Mr. Ackerson’s objections to Exhibit I to

Plaintiffs’ memorandum in support of final approval [103]. Mr. Ackerson objects that the

settlement only covers customers who utilized debit cards or ATMs. Further, Mr. Ackerson

argues that “[i]f indeed wrongdoing was done, then a single period of 45 days seems to be of

little value.” Ackerson Obj. at ¶ 5. Mr. Ackerson argues that claims period should be “expanded

to the amount of time that I held accounts with Fifth Third Bank.” Portions of Mr. Ackerson’s

objection relate to a dispute that he had with Fifth Third about his particular account, and not to

the settlement generally.    In addition to his objection, Mr. Ackerson has included some

correspondence with the Better Business Bureau and Fifth Third executives that relates to this

dispute. The Court has not considered this material.

               6.      Cannata Objection

       Objector Sam P. Cannata also did not file his objection; instead it was mailed directly to

Class Counsel. Class Counsel also included Mr. Cannata’s objection in Exhibit I to Plaintiffs’

memorandum [103]. First, Mr. Cannata argues that the fees sought by Class Counsel (1/3 of the

entire settlement fund) are excessive. Mr. Cannata notes that much of this fund will not be paid

out to Class Members; some may be distributed in a cy pres and other amounts will go towards

covering administrative costs. Mr. Cannata argues that the issue of attorney’s fees should be

“deferred until such time as the Court has received reports indicating the amount of monetary

relief that has actually been delivered to the Class.” Cannata Obj. at 2.




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       Second, Mr. Cannata takes issue with the cy pres distribution itself. Mr. Cannata argues

that distributions to Class Members should be “large enough so as to exhaust the fund,” such that

no cy pres is needed. Further, Mr. Cannata questions how the charity that will be the recipient of

the distribution will be chosen. Cannata Obj. at 3-4.

       7.      Albright Objection

       The Court received a letter dated March 9, 2011 from Patrick Albright. In it, Mr.

Albright includes receipts and account statements and argues that these materials show that he

was improperly assessed overdraft charges. With respect to the instant settlement, Mr. Albright

argues that it “astounds [him] that [* * * the settlement] [l]imits the period of questionable

transactions to 45 days.” Further, Mr. Albright questions the need for a claims process—instead

the amounts owed to customers “should be determined by Fifth Third’s own records [because]

* * * [t]hey know exactly how much they took.” Third, Mr. Albright objects that the settlement

“[a]llows for no admission of guilt or punitive damages, and has no deterrent value.” Mr.

Albright argues that “$9.5M is an insulting sum from a bank that may have profited ten times

that amount by their fraudulent practices.”

       8.      Other Objections and Submissions

       The Court has received the following additional communications from Class Members.

Some of these are not “objections” in the formal sense; however in the interest of completeness,

the Court will summarize them below.

       On February 14, 2011, Elizebeth Stackel filed a packet of material with the Court [89].

The Court has closely read Ms. Stackel’s filing and concludes that it does not identify any

specific objection to the settlement.




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       In a handwritten letter to Class Counsel dated February 23, 2011, Andrew Kelly states

only that he is “an objector to this settlement [and is] hiring my own lawyer!” Mr. Kelly’s letter

was included in Exhibit I to Plaintiffs’ memorandum. Mr. Kelly identifies no specific grounds

for his objection.

       In a handwritten letter to the Court dated December 27, 2010 and filed with the Court

[84], Christopher Basie states that he “object[s] to the settlement” and gives the Court permission

to use “[t]he history of my checking account and phone calls [to the Goodlettsville, TN Branch]”

in support of his objection. Mr. Basie identifies no specific grounds for his objection.

       On February 24, 2011, Teresa and Timothy Drew filed a “declaratory affidavit” with the

Court [95]. The Drews report that on February 15, 2011, they attempted to obtain records that

they needed in order to prepare their claim form, and were told that they could not obtain the

records free of charge. The Drews argue that the “requirement to pay for the records necessary

to establish [their] claim create[s] a hardship and [is] divisive to just and equitable discovery of

the facts to settle damages and is directly contrary to the findings & Settlement Order of Judge

Robert M. Dow, Jr.” Further, the Drews attach various of their bank account records and

identify instances where transactions “were posted out of sequence with obvious results.” The

Drews state that “[i]f it is found that mine or my sons credit record was in some way impugned,

and or I do not receive at least the amount of recovery per my claim herein, I may seek additional

damages and hereby give Notice that I reserve the right to do so and to be conditionally

excluded* * *.” Because the Drews’ affidavit attempts to reserve certain claims that would

otherwise be released in the settlement and purports to seek “conditional” exclusion, the Court

interprets the Drews’ affidavit as a request for exclusion.




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       The Court received two letters from R. McKinley Elliot, Esq. The first, dated March 2,

2011, informs the Court that Defendant “continues to reorder the posting of checks to customer

accounts.” The second letter, dated March 11, 2011, complains that the implementation date for

Fifth Third’s change in business practices was twice pushed back, finally to March 25, 2011.

II.    Legal Standard

       A court may approve a settlement that would bind class members only if it determines

after a hearing that the proposed settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P.

23(e)(3). To evaluate the fairness of a settlement, a court must consider “the strength of

plaintiffs’ case compared to the amount of defendants’ settlement offer, an assessment of the

likely complexity, length and expense of the litigation, an evaluation of the amount of opposition

to settlement among affected parties, the opinion of competent counsel, and the stage of the

proceedings and the amount of discovery completed at the time of settlement.” Synfuel Techs.,

Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006) (quoting Isby v. Bayh, 75

F.3d 1191, 1199 (7th Cir. 1996)).

       “The ‘most important factor relevant to the fairness of a class action settlement’ is the

first one listed: ‘the strength of plaintiff’s case on the merits balanced against the amount offered

in the settlement.’”    Synfuel, 463 F.3d at 653 (quoting In re Gen. Motors Corp. Engine

Interchange Litig., 594 F.2d 1106, 1132 (7th Cir. 1979)). Furthermore, “[i]n conducting this

analysis, the district court should begin by ‘quantifying the net expected value of continued

litigation to the class.’ To do so, the court should ‘estimate the range of possible outcomes and

ascribe a probability to each point on the range.’” Id. (quoting Reynolds v. Beneficial Nat’l

Bank, 288 F.3d 277, 284-85 (7th Cir. 2002)). Although the Seventh Circuit has recognized that

“a high degree of precision cannot be expected in valuing a litigation,” the court should




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nevertheless “insist that the parties present evidence that would enable possible outcomes to be

estimated,” so that the court can at least come up with a “ballpark valuation.” Id. (quoting

Reynolds v. Beneficial Nat. Bank, 288 F.3d 277, 285 (7th Cir. 2002). In essence, a court must

weigh the value of the proposed settlement against the total amount that the class could recover,

discounted by the weaknesses and risks inherent in the class’ claims.

       “Federal courts naturally favor the settlement of class action litigation.” Isby, 75 F.3d at

1196. Nevertheless, the Seventh Circuit has warned that “the structure of class actions under

Rule 23 * * * gives class action lawyers an incentive to negotiate settlements that enrich

themselves but give scant reward to class members, while at the same time the burden of

responding to class plaintiffs’ discovery demands gives defendants an incentive to agree to early

settlement that may treat the class action lawyers better than the class.” Thorogood v. Sears,

Roebuck & Co., 627 F.3d 289, 293 (7th Cir. 2010) (emphasis omitted). District courts must

therefore “exercise the highest degree of vigilance in scrutinizing proposed settlements of class

actions.” Synfuel, 463 F.3d at 652; see also Reynolds, 288 F.3d at 280.

III.   The Settlement Satisfies Rule 23 Because It Is Fair, Reasonable, and Adequate

       Applying the five factors identified in Synfuel, 463 F.3d at 653, the Court concludes that

the settlement is “fair, reasonable, and adequate” and thus meets the requirements of Rule 23.

       A.      Strength of Plaintiffs’ Case Balanced Against Amount of Settlement

       As noted above, the “most important factor” in determining whether a proposed

settlement satisfies Rule 23 is the “strength of plaintiff’s case on the merits balanced against the

amount offered in the settlement.” Synfuel, 463 F.3d at 653. Because the Settlement promises to

yield benefits to the class that are significant in light of Defendant’s potentially strong defenses

should the case proceed to trial, the first factor under Synfuel counsels approval.




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                1.      Potential Value of the Class’s Claims

         The Court begins its task by ‘“quantify[ing] the net expected value of continued litigation

to the class.’” Synfuel, 463 F.3d at 653 (quoting Reynolds, 288 F.3d at 284-85). Setting aside

the specter of punitive damages, the evidence introduced by the settling parties established that

the top of “the range of possible outcomes,” id., is a recovery by the class of between $95.2

million (Defendant’s number) and $97.7 million (Plaintiffs’ expert’s number). The potential

exposure calculations put forward by the parties went essentially unchallenged,17 and no objector

sought to introduce his own analysis of the class’s potential recovery in this case. The evidence

before the Court therefore conclusively establishes that around $96.5 million (the average of

parties’ top-end damage calculations) is the most that the class could hope to recover.

         The next step in determining the fairness of the settlement is to discount the value of the

class’s claims based on the various defenses available to the defendant. See Synfuel, 463 F.3d at

653. The record in this case establishes that Plaintiffs would face considerable hurdles if they

proceeded toward trial.       Were this litigation to proceed absent settlement, Fifth Third’s


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   The Court will here address the PEC Objectors’ criticisms of the Tarter Report. Both are unwarranted.
Objectors argue that Mr. Tarter erred because the population from which Mr. Tarter drew his average
number of fees incurred per month included customers who incurred just one overdraft fee per month, and
these individuals could not be Class Members. Tarter Report at 9. But Mr. Tarter accounted for the
inclusion of these individuals in the way in which he calculated and applied the mismatch probabilities—
those calculations recognized that the probability of mismatch was 0% where there was only one
overdraft transaction in particular day. Id. at 11. The PEC Objectors’ second criticism of the Tarter
Report is equally unfounded. Again, the PEC Objectors criticize Mr. Tarter’s assumption that because 57
percent of all transactions were debit card or ATM transactions, 57 percent of overdraft fees were
attributable to debit card or ATM transactions. First of all, Mr. Sullivan’s affidavit establishes that 57
percent was the appropriate discount factor. See Sullivan Aff. at ¶ 8 (“Based on modeling done by Fifth
Third in connection with the preparation of its periodic regulatory filings, it has been determined by
approximately 57% of the yearly realized overdraft fees were the result of a debit card or ATM
transaction.”). And in any event, assuming arguendo that Mr. Tarter’s assumption was not validated by
Mr. Sullivan’s affidavit, the Objectors offer no concrete evidence to substantiate their concern that Mr.
Tarter’s choice to equate percentage of transactions performed with percentage of fees generated may
have materially affected his ultimate damages calculation. The PEC Objectors did not seek to depose Mr.
Tarter, nor did they seek to discover the information upon which Mr. Tarter based his analysis in order to
test it or to offer an expert report of their own.


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memorandum in support of its motion to dismiss [23] shows that it would argue that Fifth Third

was contractually authorized to re-sequence Class Members’ debit card transactions from the

highest to lowest amount, and that the terms of the Deposit Agreement preclude a finding that

Fifth Third engaged in any deception or unfair conduct. Id. at 2-3. All customers signed a

signature card when opening a personal deposit account, which provides that the terms and

conditions contained in the card, “together with resolutions or authorizations which accompany

this signature card, if applicable, and the Rules, Regulations, Agreements and Disclosures of

Bank constitute the Deposit Agreement (“Agreement”) between individual(s) or entity(ies)

named hereon (“Depositor”) and the Bank.” Id. at 2. Fifth Third’s Rules and Regulations state,

inter alia:

        In the case of overdraft or overpayment of any account, whether such by error,
        mistake, inadvertence, or otherwise, the amount of such overdraft shall
        immediately be paid to [Fifth Third]. An overdraft fee may be assessed by [Fifth
        Third] whether [Fifth Third] pays the item or not. If multiple items are presented
        to [Fifth Third] and there are not sufficient collected funds to pay all of those
        items, [Fifth Third] (not customer) has the right to decide the order of the items
        that will be paid and which items will be returned, if any. [Fifth Third] may select
        any payment order at any time, which may include paying the largest items first
        such as your mortgage, rent or car payment.

Id. at 2.

        While Plaintiffs would oppose a contract-based defense, a number of courts have

accepted similar arguments when made by bank defendants in cases where the plaintiff was

alleging that the defendant bank’s re-sequencing practices were unlawful. Most notably, in

Hassler v. Sovereign Bank, 374 Fed. Appx. 341 (3d Cir. 2010), where a New Jersey plaintiff

alleged that the defendant bank’s practice of re-sequencing debit card transactions from highest-

to-lowest amount was unlawful, the Third Circuit affirmed the dismissal of the plaintiff’s breach

of contract for violation of the duty of good faith and fair dealing, consumer fraud, and unjust




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enrichment claims based on its determination that the account agreement at issue (which Fifth

Third has argued is similar to the language of the Deposit Agreement) allowed the defendant

bank to reorder overdraft fees and “explicitly provided for the reordering of charges.” Id. at 344;

see also Fetter v. Wells Fargo Bank, N.A., 110 S.W.3d 683, 691 (Tex. App. Ct. 2003) (affirming

summary judgment against breach of implied duty of good faith and fair dealing claim because

the deposit agreement “specifically permit[ted] high to low posting in addition to the

authorization provided in UCC section 4.303(b)”); Daniels v. PNC Bank, N.A., 738 N.E.2d 447,

449 (Ohio Ct. App. 2000) (dismissing breach of implied duty of good faith and fair dealing claim

because the deposit agreement that authorized the defendant bank to post items “in any order

convenient to [the bank]” authorized the bank to post items from highest-to-lowest); Smith v.

First Union Nat’l Bank, 958 S.W.2d 113, 114 (Tenn. Ct. App. 1997).

       Fifth Third has also argued that federal and Illinois law authorized it to re-sequence debit

card transactions from highest to lowest amount, and accordingly, Plaintiffs could not establish a

violation of the Illinois Consumer Fraud Act (Count I) or other similar state consumer fraud

statutes. See, e.g. 815 ILCS 505/10b(1) (“Nothing in this Act shall apply to * * * [a]ctions or

transactions specifically authorized by laws administered by any regulatory body or officer

acting under statutory authority of this State or the United States.”). In its memorandum in

support of its motion to dismiss, Fifth Third relied on an Illinois decision affirming the dismissal

of claims alleging that a bank’s practice of reordering checking transactions was unlawful. See

Hill v. St. Paul Fed. Bank for Savings, 768 N.E.2d 322, 328 (Ill. App. Ct. 1st Dist. 2002). Citing

to 815 ILCS 505/10b(1), the Hill Court held that “a bank’s failure to disclose the posting order of

checks in its schedule of fees comes under the Act’s exemption for conduct authorized by law.”

Id. at 328. The court explained that the portion of the federal Truth in Savings Act addressing




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bank fees specifies that a bank “need not include” in its disclosures “any information not

specified” in applicable regulations.    Id. at 327-328 (quoting 12 U.S.C. § 4303(a)).          That

regulation, 12 C.F.R. Pt. 230, Supp. I, § 230.4(b)(4), requires only that the bank state the fee

amount and the conditions under which a fee may be imposed, such as by stating a “$4.00

monthly service fee.” Id. at 328. Because the order in which overdrawn checks are posted “is

not a ‘condition’ under which overdraft fees are assessed within the meaning of section

4303(b)(1),” the court concluded that “federal law does not require banks to disclose in their

schedules of fees the posting order of checks and other items.” Id.

       Furthermore, under the Illinois Uniform Commercial Code, banks are expressly

authorized to post “items” to a customer’s account “in any order.” 810 ILCS 5/4-303(b) (UCC §

4-303(b)). An “item” is defined in the UCC as “an instrument or a promise or order to pay

money handled by a bank for collection or payment.” 810 ILCS 5/4-104(9) (UCC § 4-104(9)).

Paragraph 7 of the Official Comments to 810 ILCS 5/4-303 (UCC § 4-303) provides the

rationale for allowing banks to pay “items” in any order:

       As between one item and another no priority rule is stated. This is justified
       because of the impossibility of stating a rule that would be fair in all cases, having
       in mind the almost infinite number of combinations of large and small checks in
       relation to the available balance on hand in the drawer’s account; the possible
       methods of receipt; and other variables. Further, the drawer has drawn all of the
       checks, the drawer should have funds available to meet all of them and has no
       basis for urging one should be paid before another; and the holders have no direct
       right against the payor or bank in any event, unless of course, the bank has
       accepted, certified or finally paid a particular item, or has become liable for it
       under Section 4-302. Under subsection (b) the bank has the right to pay items for
       which it is itself liable ahead of those for which it is not.

Id., Official Comment ¶ 7 (emphasis added); see also Hill, 768 N.E. 2d at 325 (discussing 810

ILCS 5/4-303(b)). While Hill concerned the re-sequencing of checks, Defendant would argue

that the same rationale would apply to re-sequencing of debit card and ATM transactions. In




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their memorandum, Plaintiffs acknowledged that Defendant’s contract-based defenses and

arguments that its conduct was authorized by law would be difficult to overcome.

       With regard to Plaintiffs’ unjust enrichment claims, in addition to the foregoing

arguments, Fifth Third would argue that such claims are barred because Fifth Third’s

relationship with each Class Member was governed by the express terms of the Deposit

Agreement. Although some exceptions exist, Plaintiffs acknowledge that each of twelve states

in which Fifth Third has offices recognizes that a cause of action for unjust enrichment does not

lie when an express contract governs the relationship between parties. See Unjust Enrichment

Chart, Exhibit D to Pl. Mem [103]. Plaintiffs concede that “this issue would necessitate briefing

and review, further complicating this matter absent settlement.” Pl. Mem. at 15.

       Plaintiffs would also be required to face arguments relating to the voluntary payment

doctrine. As a general matter, the voluntary payment doctrine provides that “[a]bsent fraud,

coercion or mistake of fact, monies paid under a claim of right to payment but under a mistake of

law are not recoverable.” Spivey v. Adaptive Mktg. LLC, 622 F.3d 816, 822 (7th Cir. 2010)

(discussing Illinois’ interpretation of the voluntary payment doctrine). According to Plaintiffs,

each of the states where Fifth Third has offices recognizes a similar form of the voluntary

payment doctrine. See Voluntary Payment Doctrine Chart, Exhibit E to Pl. Mem. As attested to

in the Affidavit of Kevin Sullivan, Fifth Third estimates that approximately 72% of its overdraft

fee revenue was generated from the approximately 7% of Fifth Third customers who overdrafted

six or more times a month. Sullivan Aff. ¶ 10. Fifth Third would likely argue that, at some

point, such persons had actual or constructive notice of Fifth Third’s practice of re-sequencing

debit card and ATM transactions, potentially rendering such Class Members’ claims barred (or

greatly reduced) by the voluntary payment doctrine.




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         In addition to these defenses on the merits, absent settlement, Plaintiffs would be required

to overcome a contested class certification proceeding. There is no guarantee that Plaintiffs

would prevail at this stage. See Pella Corp. v. Saltzman, 606 F.3d 391, 393 (7th Cir. 2010)

(“Class treatment of consumer fraud cases can certainly present difficulties, and courts should

consider these concerns before deciding to grant class certification”). At such a proceeding,

Plaintiffs would have to demonstrate the manageability of the case; a requirement absent in a

class certified for settlement purposes only. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620

(1997) (“Confronted with a request for settlement-only class certification, a district court need

not inquire whether the case, if tried, would present intractable management problems for the

proposal is that there be no trial.”) (citations omitted).        Additionally, any ruling on class

certification would likely be appealed pursuant to Rule 23(f), further lengthening and

complicating the matter.18

         While Plaintiffs maintain that their claims would ultimately succeed, the above

discussion establishes that Fifth Third has a number of potentially meritorious defenses. Absent

settlement, Class Members would face the real risk that they would win little or no recovery.

What is assured is that any victory would come only after many months (or years) of hard-fought

litigation. For these reasons, the use of a significant discount percentage is appropriate. In fact,

Mr. Sullivan’s calculations show that if the Court accepted just one of Defendant’s defenses—

the “chronic overdrafter”/voluntary payment argument—the value of the Class’s claims would

fall approximately 72% (from $95.3 million to $26.7 million). Sullivan Aff. ¶ 11.



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   The Court makes clear that in enumerating Defendant’s potential defenses, it does not purport to
determine whether or not they would ultimately be successful. See Williams v. General Elec. Capital
Auto Lease, 1995 WL 765266, at *4 (N.D. Ill. Dec. 26, 1995) (“It is neither appropriate nor necessary to
resolve the merits of the conflicting positions in the case in order to evaluate the fairness of the
settlement.”).


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               2.     Value of the Settlement to Class Members

       On the other side of the ledger, the evidence presented to the Court establishes that Class

Members will realize significant benefits from the settlement. In addition to paying $9.5 million

to the settlement fund, Fifth Third has also expended over $416,000 in fulfilling its notice

obligations under the agreement. Also, Fifth Third has paid at least an additional $668,580.52

out of pocket to cover other notice and claims administration costs. See [113]. This amounts to

a total expenditure of at least $10.58 million. It must also be remembered that “a dollar today is

worth a great deal more than a dollar ten years from now,” Reynolds, 288 F.3d at 284, and a

major benefit of the settlement is that Class Members may obtain these benefits much more

quickly than had the parties not settled. If the Class Members were “required to await the

outcome of a trial and inevitable appeal, [* * *] they would not receive benefits for many years,

if indeed they received any at all.” In re AT&T Mobility Wireless Data Services Sales Tax Litig.,

2011 WL 2204584, at *24 (N.D. Ill. June 2, 2011).

       Further, the prospective relief agreed to by Defendant, including its agreement to cease

its practice of re-sequencing transactions from the highest to lowest amount, is an important and

valuable benefit for the numerous Class Members who inevitably will continue to bank with

Fifth Third. For those customers, the prospective relief will reduce the number of overdraft fees

that they will pay in the future. Plaintiff’s expert has estimated the value of this relief to be

$58.8 million over the next five years, and $108.3 million over the next ten years. Tarter Rep. at

16. Class Counsel represents that it is his belief that “this relief is groundbreaking, in that no

other bank defendant has agreed to that concession in a case settlement related to the re-

sequencing of debit card transactions.” Pl. Mem. at 5.




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              3.      The Amount of the Benefits Offered in the Settlement is Fair

       “The uncertain nature of the legal issues implicated by proceeding to trial makes it

difficult to calculate a precise probability of success.” In re AT&T Mobility Wireless Data

Services Sales Tax Litig., 2011 WL 2204584, at *25 (citing Synfuel, 463 F.3d at 653).

Nevertheless, the information before the Court conclusively establishes that the amount of

settlement benefits offered to the class is “fair, reasonable, and adequate.” Fed. R. Civ. P.

23(e)(2).

       As an initial matter, without taking into account the $1.08 million that Defendant has paid

to effectuate the settlement, and without taking into account the real value of the prospective

change in Defendant’s business practices, the $9.5 million settlement fund still represents

approximately 10% of the $96.5 million that is the class’s maximum potential recovery.

Numerous courts have approved settlements with recoveries around (or below) this percentage.

See, e.g. Lazy Oil Co. v. Witco, 95 F. Supp. 2d 290, 339 (W.D. Pa. 1997) (approving settlement

amounting to 5.35% of damages for the entire class period, and 25.5% of damages within the

limitations period); Erie Forge and Steel, Inc. v. Cyprus Minerals Co., Civil No. 94-404 (W.D.

Pa. Dec. 23, 1996) (approving settlement of $3.6 million where plaintiffs’ expert estimated

damages at $33 million); In re Domestic Air Tranp. Antitrust Litig., 148 F.R.D. 297, 325 (N.D.

Ga. 1993) (12.7% to 15.3%); In re Newbridge Networks Sec. Litig., 1998 WL 765724, at *2

(D.D.C. Oct. 23, 1998) (approving settlement and concluding that while “[c]ourts have not

identified a precise numerical range within which a settlement must fall in order to be deemed

reasonable; [] an agreement that secures roughly six to twelve percent of a potential trial

recovery, while preventing further expenditures and delays and eliminating the risk that no

recovery at all will be won, seems to be within the targeted range of reasonableness”); In re




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Ravisent Techs., Inc. Sec. Litig., 2005 WL 906361, at *9 (E.D. Pa. Apr. 18, 2005) (approving

settlement, which amounted to 12.2% of damages, and citing study by Columbia University Law

School, which determined that “since 1995, class action settlements have typically recovered

between 5.5% and 6.2% of the class members’ estimated losses.”) (internal citations omitted).

       In Domestic Air Transp. Antitrust Ligitation, the court reasoned that simply because “the

proposed settlement amounts to a fraction of potential recovery does not render the proposed

settlement inadequate and unfair.” 148 F.R.D. at 325. “In fact, there is no reason, at least in

theory, why a satisfactory settlement could not amount to a hundredth or even a thousandth part

of a single percent of the potential recovery. * * * The proposed settlement cannot be judged

without reference to the strength of plaintiffs’ claims and other factors relating to a potential

recovery for plaintiffs.” Id. (citing Detroit v. Grinnell Corp., 495 F.2d 448, 455 n. 2 (2d Cir.

1974)). When the Court takes Fifth Third’s strong defenses into account, and considers the real

value of the prospective relief (at least to those who continue to bank with Fifth Third), the Court

must conclude that the “most important factor” in determining whether a proposed settlement

satisfies Rule 23—namely the “strength of plaintiff’s case on the merits balanced against the

amount offered in the settlement,” Synfuel, 463 F.3d at 653—supports approving the Settlement

Agreement in the present case. In short, the settlement provides immediate value to the Class

Members that is well within the range of—and may in fact significantly exceed—their expected

recovery from proceeding to trial.

       In their objections, the PEC Objectors argue that this is a low-ball settlement. Support

for this argument relies on the Objectors’ comparison of the settlement fund in this case with the

amounts awarded ($203 million in Guitierrez) and the amounts agreed to ($410 million against

Bank of America in the Overdraft MDL) in cases involving similar claims. The Court concludes




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that comparison of this settlement with the recoveries in similar cases does not upset the Court’s

conclusion that this settlement merits approval.

       As an initial matter, the Court recognized in its order preliminarily approving the

settlement that “comparison of settlements in similar cases is relevant to whether a settlement is

fair, adequate and reasonable.” [59] at 5. That is undoubtedly true. See Trombley v. National

City Bank, 759 F. Supp. 2d 20, 24-25 (D.D.C. 2011) (“The Court recognizes that the comparison

of settlements in similar cases can be relevant when evaluating the fairness, adequacy, and

reasonableness of a proposed settlement.”). However, when it granted preliminary approval to

the settlement, the Court agreed with the PEC Objectors’ criticisms of the parties’ “adequacy by

analogy” argument, and warned that such an argument was no substitute for evidence concerning

this case that would enable the Court to determine the potential value of Class Members’ claims.

[59] at 5. It appears that the PEC Objectors did not take their own criticism to heart: While the

parties presented expert and other evidence regarding the value of the class’s claims in this

lawsuit, the PEC Objectors’ main challenge to the settlement is an “inadequacy by analogy”

argument. Indeed, it bears repeating that the PEC Objectors did not seek to conduct discovery on

the basis for the settling parties’ damages calculations or offer an expert report of their own.

Each case is different and must be evaluated on its own merits. E.g. Liebman v. J.W. Petersen

Coal & Oil Co., 73 F.R.D. 531, 536 (C.D. Ill. 1973). And due to the inevitable variations among

different cases, solid evidence involving the value of the class’s claims in this case is inherently

more persuasive than comparisons to other settlements or verdicts. See Goldberg v. Touche Ross

& Co., Fed. Sec. L. Rep. (CCH) ¶ 96,892 (S.D.N.Y. 1979) (in approving the settlement, the court

did not consider plaintiffs’ comparative table of settlements in other actions of claimed

comparative value as having any impact because the variables between cases were too many to




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justify such a comparison) (cited in William B. Rubenstein, Alba Conte and Herbert B. Newberg,

4 NEWBERG ON CLASS ACTIONS § 11:47 (4th ed. 2011)).

         Regardless, neither the Guitierrez case nor the Bank of America settlement in the

Overdraft MDL shows that the amount of this settlement is insufficient. In a 90-page opinion

following a bench trial, the Court in Gutierrez v. Wells Fargo Bank¸ 730 F. Supp. 2d 1080 (N.D.

Cal. 2010), ordered Wells Fargo to and cease its reordering practices and pay $203 million in

restitution to its California customers. Most importantly, this award is not an appropriate basis

for comparison because it is the result of a judgment after a bench trial; not a settlement.

Further, Plaintiffs have explained that there are significant differences between Gutierrez and

this case that make comparison difficult. The law at issue in Gutierrez was different than the law

at issue in this case. There, the plaintiffs prevailed on claims brought under California’s Unfair

Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq. Under that statute, relief is available

without individualized proof of deception, reliance, and injury. Gutierrez, 730 F. Supp. 2d at

1138. Further, the court in Gutierrez relied heavily on the California version of U.C.C. § 4-303

and its California-specific comments, which expressly prohibit establishing a practice solely to

maximize overdraft fees. Id. at 1121. As explained above, Illinois’s version of U.C.C. § 4-303

contains no such prohibition. Fifth Third Bank has no branches in California. And finally, as the

Court explained in its previous order, once the differences between the relative sizes of Wells

Fargo and Fifth Third are taken into account, it is possible that the result in Gutierrez actually

supports the fairness of the size of the recovery here. See [59] at 6 n.4; [54] at 4.19



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  In briefing at the preliminary approval stage, Plaintiffs argued that “adjusting [the award in Gutierrez]
for the relative size between the class certified in Gutierrez and the proposed Settlement Class here, that
judgment is reduced, on a comparative basis, to $29 million.” [54] at 4. In her objection, Kannapel
argues that in Plaintiffs’ reduced the Gutierrez settlement too much, because they failed to account for the
fact that the settlement only applied to Wells Fargo’s California customers. Kannapel Obj. at 4-5.


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       The PEC Objectors have also filed an order preliminarily approving a settlement

agreement between Bank of America and a group of plaintiffs in the Overdraft MDL. Ex. A to

[121]. Tellingly, neither of the PEC Objections nor the “Notice of Recent Developments” [121]

to which the PEC Objectors attached the Bank of America settlement agreement contains a

discussion of the similarities between this case and the lawsuit against Bank of America, a

discussion of the relative sizes of the banks or the settlement classes, or other information that

would permit the Court to compare the two settlements. Accordingly, it is of little value to the

Court in assessing the sufficiency of the benefits of this settlement.

       B.          Likely Complexity, Length, and Expense of the Litigation

       The Seventh Circuit has held that the likely complexity, length, and expense of continued

litigation are relevant factors in determining whether a class-action settlement is fair, reasonable,

and adequate. Synfuel, 463 F.3d at 653. Those factors support approval of the Settlement

Agreement in this case.

       If the Court approves the Agreement, the present lawsuit will come to an end and Class

Members will realize both immediate and future benefits as a result.           If the Court denies

approval, however, protracted litigation would likely ensue (either in this Court or before the

court presiding over the Overdraft MDL). If the Court denied approval, Defendant would likely

re-file its motion to dismiss. If Plaintiffs’ claims survive that hurdle, the parties would engage in

discovery related both to the merits of the Class’ claims and to the propriety of class

certification. “The costs associated with discovery in complex class actions can be significant.”

In re AT&T Mobility Wireless Data Services Sales Tax Litig., 2011 WL 2204584, at *26 (citing

Nicola Faith Sharpe, Corporate Cooperation Through Cost-Sharing, 16 MICH. TELECOMM. &


However, this objection seems misplaced, as Plaintiffs’ did compare the number of Wells Fargo’s
California customers to the number of Fifth Third’s customers nationwide. [54] at 4.


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TECH. L. REV. 109, 110 (2009) (“Discovery accounts for about 50% of all litigation costs and up

to 90% of the costs in the top 5% of the most expensive case.”) (citation omitted)). As explained

above, a class certification proceeding would likely be hotly-contested and followed by an

inevitable appeal. If the Class was certified, and if Plaintiffs survive through summary judgment

proceedings, they would still be required to establish their entitlement to damages at trial.

Settlement allows the class to avoid the inherent risk, complexity, time, and cost associated with

continued litigation. See Weinberger v. Kendrick, 698 F.2d 61, 73 (2d Cir. 1982) (“There are

weighty justifications, such as the reduction of litigation and related expenses, for the general

policy favoring the settlement of litigation.”).

       C.           Amount of Opposition to the Settlement

       The Seventh Circuit has instructed district courts to evaluate the amount of opposition to

a settlement among affected parties in deciding whether to approve a class-action settlement.

Synfuel, 463 F.3d at 653.       A very small percentage of affected parties have opposed the

settlement. As of May 13, 2011, the claims administrator had received “over 100,000 claims.”

Parties Supplemental Mem. [118] at 1. In contrast to this high participation rate, only 342 Class

Members excluded themselves from the settlement and only 15 Class Members submitted

documents that could be considered objections. See In re Mexico Money Transfer Litig., 164 F.

Supp. 2d 1002, 1021 (N.D. Ill. 2000) (holding that the fact that more than “99.9% of class

members have neither opted out nor filed objections * * * is strong circumstantial evidence in

favor of the settlement”), aff’d., 267 F.3d 743 (7th Cir. 2001); cf. The Authors Guild, et al. v.

Google, Inc., WL 986049, at *6 (S.D.N.Y. Mar. 22, 2011) (denying approval of Google’s class

action, in part because “an extremely high number of class members—some 6,800—opted out”

and because “the objections [were] great in number”).




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       D.          Opinion of Competent Counsel

       The opinion of competent counsel is relevant to the question whether a settlement is fair,

reasonable, and adequate under Rule 23. Synfuel, 463 F.3d at 653. Class Counsel has extensive

experience in consumer class actions and complex litigation and there is no indication that the

Settlement Agreement is the victim of collusion. Class Counsel believes that the Settlement is

beneficial to the Class and meets the class-certification requirements of Rule 23. See Pl. Mem.

at 20. The Court thus concludes that the opinion of competent counsel in this case supports its

approval of the Settlement. Accord Retsky Fam. Ltd. v. Price Waterhouse L.L.P., 2001 WL

1568856, at *3 (N.D. Ill. Dec.10, 2001) (“[T]heir opinion that the settlement is fair, reasonable

and adequate also favors approval of the settlement.”).

       E.      Stage of the Proceedings and the Amount of Discovery Completed at the
               Time of Settlement

       The last factor that the Seventh Circuit deems relevant to the question whether a class-

action settlement is fair, reasonable, and adequate concerns the stage of the proceedings and the

amount of discovery completed. Synfuel, 463 F.3d at 653. This factor is relevant because it

determines “how fully the district court and counsel are able to evaluate the merits of plaintiffs’

claims.” Armstrong v. Bd. of Sch. Dirs. of City of Milwaukee, 616 F.2d 305, 325 (7th Cir. 1980),

overruled on other grounds by Felzen v. Andreas, 134 F.3d 873 (7th Cir. 1998).

       The PEC Objectors argue that the absence of formal pre-settlement discovery

demonstrates that Class Counsel failed to properly evaluate the merits of the claims at issue in

this litigation. Keyes/Ratliff Obj. at 3; 10-11; Kannapel Obj. at 6. The Objectors point out that

the “docket reflects that no formal or informal discovery was conducted, and the settlement was

reached at the early stage of the proceedings suggests that none was conducted.” Keyes/Ratliff

Obj. at 10. Further, the Objectors argue that the 30-day period of “confirmatory discovery”



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provided for in the Settlement Agreement is “an inadequate substitute for adversary discovery.”

Id. at 11.

        Apart from exchanging initial disclosures pursuant to Rule 26(a), Class Counsel concedes

that no formal discovery was conducted, but states that “[d]uring months of arms-length

negotiations occurring prior to settlement, Settlement Class Counsel engaged in substantial

informal discovery.” Pl. Mem. at 21. That discovery apparently consisted of “multiple meetings

and conversations with Fifth Third’s counsel, during which information was appropriately

shared.” Id. In addition, prior to settling, Class Counsel conducted a “great deal of independent

research” to evaluate his claim, including “examining hundreds of pages of bank statements to

study the manner in which Fifth Third’s practices affected Settlement Class Members.” Id.

        The Court concludes that this factor does not weigh against approval of the settlement.

As the Court noted in its preliminary approval order, that counsel conducted no formal discovery

prior to settlement does not necessarily preclude final approval. See In re Prudential Ins. Co. of

America Sales Practices Litigation, 148 F.3d 283, 319 (3rd Cir. 1998); Cotton v. Hinton, 559

F.2d 1326, 1332 (5th Cir. 1977) (“It is true that very little formal discovery was conducted and

that there is no voluminous record in the case. However, the lack of such does not compel the

conclusion that insufficient discovery was conducted.”). Indeed, the “label of ‘discovery’ [either

formal or informal] is not what matters.” In re AT&T Mobility Wireless Data Services Sales Tax

Litig., 2011 WL 2204584, at *29. Instead, “[t]he pertinent inquiry is what facts and information

have been provided.” Id. As the Southern District of New York has noted:

        [T]he question that this Court must answer is not how much or how little
        discovery was completed by the parties before they agreed to the settlement, but
        rather whether the discovery that was completed was sufficient for “effective
        representation.” * * * Intervenors * * * have not explained how additional
        discovery would have been in the interest of the class. Discovery has costs, and
        further discovery would have taken additional time and resulted in the



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         expenditure of additional funds on both sides, neither of which is in plaintiffs’
         interests.* * * [C]lass counsel’s decision to forgo additional discovery in the
         hopes of minimizing costs and achieving a quick recovery for their clients appears
         to be both fair and reasonable[.]

McBean v. City of New York, 233 F.R.D. 377, 384–85 (S.D.N.Y. 2006); see also In re

Corrugated Container Antitrust Litigation, 643 F.2d 195, 211 (5th Cir. 1981) (finding settlement

appropriate, despite absence of formal discovery, when “plaintiffs did have access to

information”).

         Here, Class Counsel asserts that they had access to sufficient information such that they

could effectively represent the Class.       The Objectors have not explained “how additional

discovery would have been in the interest of the class” or would have resulted in a better

settlement. McBean, 233 F.R.D. at 384-85. Indeed, as the Seventh Circuit has suggested, the

fact that Class Counsel negotiated a fair settlement is evidence that he had enough information to

effectively represent the class. Mars Steel Corp. v. Continental Illinois Nat. Bank and Trust Co.

of Chicago, 834 F.2d 677, 684 (7th Cir. 1987) (“Rather than attempt to prescribe the modalities

of negotiation, the district judge permissibly focused on the end result of the negotiation, which

was more favorable to the class than any class member could reasonably have expected. The

proof of the pudding was indeed in the eating.”). Further, pursuant to the Settlement Agreement,

settlement Class Counsel was entitled to reasonable confirmatory discovery. This discovery

confirmed the fairness of the settlement.20 This is not the sort of case where the absence of

formal discovery suggests collusion or that the class counsel otherwise failed to get the best

20
  Plaintiffs report that they engaged in “wide-rang[ing]” and “detailed” confirmatory discovery following
preliminary approval. See Pl. Mem. [103] at 7-8. Class Counsel examined financial information
including “data and information pertaining to monthly summaries of consumer overdraft item fees, daily
fee dollars, waivers, reversals and charge offs; net consumer fees; principal losses; realized fees; the
number of monthly overdraft occurrences; the number of accounts with occurrences (that is, the posting
of an overdraft fee); and the average number of overdraft occurrences.” Id. Class Counsel (and their
expert) also participated in several in-person and telephone conferences with Fifth Third’s attorneys and
management wherein Fifth Third responded to various questions. Id.


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agreement possible for their class. Cf. Olden v. Gardner, 294 Fed. Appx 210, 218 (6th Cir.

2008); Reynolds v. Beneficial Nat. Bank, 260 F. Supp. 2d 660, 687-88 (N.D. Ill. 2003) (declining

to approve settlement on remand and disqualifying class counsel because evidence established

that they attempted to settle case without first undertaking sufficient discovery to estimate class

damages).

       The stage of proceedings at which this case settled does not weigh against approval. In

In re Asbestos Litigation, 90 F.3d 963, 988 (5th Cir. 1996), rev’d on other grounds sub

nom. Ortiz v. Fibreboard Corp., 527 U.S. 815 (1999), the court held that that the fact that the

parties “filed their proposed settlement agreement on the same day as the plaintiff class filed its

complaint [and] clearly did not intend to litigate the complaint” did not “change the adversarial

nature of the disputes which the settlement resolves and does not contradict the district court’s

finding that settlement negotiations were heated, difficult and conducted at arm’s length.” That a

case is settled early does not establish that the class was ill-represented or that the settlement was

the product of collusion. Id. In any event, the stage of proceedings here was further along than

in Asbestos Litigation—the parties did not come to this Court holding hands. Rather, the filing

of Defendant’s motion to dismiss suggests that the parties began the litigation in an adversarial

posture. See also In re AT&T Mobility Wireless Data Services Sales Tax Litig., 2011 WL

2204584, at *29 (quoting Molski v. Gleich, 318 F.3d 937, 959 (9th Cir. 2003) (“Early dispute

resolution is salutary, and we should not encourage the unnecessary expense, delay, and

uncertainty caused by lengthy litigation when the parties are prepared to compromise. Nor

should we hold * * * that a prompt settlement necessarily suggests a failure to prosecute or

defend the action with due diligence and reasonable prudence.            To the contrary, an early

resolution may demonstrate that the parties and their counsel are well prepared and well aware of




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the strength and weaknesses of their positions and of the interests to be served by an amicable

end to the case.”) (Graber, J., concurring), overruled on other grounds by Dukes v. Wal–Mart

Stores, Inc., 603 F.3d 571 (9th Cir. 2010), and judgment reversed by 131 S.Ct. 2541 (2011)).

IV.    Objections to the Settlement

       For the preceding reasons, the five factors outlined by the Seventh Circuit support

approving the Settlement Agreement. Nevertheless, 15 Class Members have filed 13 separate

objections, which collectively articulate a number of specific arguments why the Court should

not approve the settlement. The Court has addressed some of these objections in the discussion

above and will consider the balance here. The objections filed by Class Members do not

establish that the Court should deny final approval of the settlement.

       A.      Benefits Allocation

       As discussed above, the settlement does not distribute benefits on a strictly pro rata basis

depending on the amount of fees incurred. Instead, customers must choose a 45-day period

within the Class Period for the reimbursement of fees. The Court concludes that this allocation

of benefits is appropriately tailored to the facts and law at issue in this case, and is fair,

reasonable, and adequate. As the Court recognized in its order preliminarily approving the

settlement, “when real and cognizable differences exist between the likelihood of ultimate

success for different plaintiffs, it is appropriate to weigh distribution of the settlement in favor of

plaintiffs whose claims comprise the set that was more likely to succeed.” In re PaineWebber

Ltd. Partnerships Litigation, 171 F.R.D. 104, 133 (S.D.N.Y. 1997) (internal quotations and

citations omitted); see also id. (collecting cases); see also In re Lucent Techs., Inc., Secs. Litig.,

307 F. Supp. 2d 633, 649 (D.N.J. 2004) (citing In re Cendant Corp. Litig., 264 F.3d 201, 248-49




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(3d Cir. 2001) (“Courts have routinely approved plans of allocation that provide different

payments to class members.”)).

        By reimbursing customers for damages incurred in a 45-day period, the settlement

recognizes that customers who incurred “surprise” charges have stronger claims than the

“chronic overdrafters” who paid many fees over a long period of time. This allocation method

ensures that the benefits of the settlement are made available to all Class Members, while

protecting the interests of Class Members with the strongest claims—those who incurred

“surprise” overdraft charges—from erosion of the settlement fund by Class Members who were

chronic overdrafters, and therefore those with arguably the weakest claims. Approximately 72%

of all overdraft fee revenue was generated from the approximately 7% of Fifth Third’s customers

who overdrafted six or more times a month.               Sullivan Affidavit ¶ 10.   As the Court has

explained, these frequent overdrafters arguably have weaker claims than the other Members of

the Settlement Class because they can be said to have had actual or constructive notice of Fifth

Third’s reordering policies and are more susceptible to defenses such as the voluntary payment

doctrine. The way in which the settlement allocates benefits is fair because it recognizes these

important differences among Class Members. What would be “arbitrary, unreasonable, and

unfair[]” (Objector Kannapel’s words) would be to distribute 72% of the settlement fund to the

7% of Class Members who have the weakest claims.

        In Trombley v. National City Bank, a class action where a plaintiff alleged that a bank’s

re-sequencing of debit/check card and ATM transactions was unlawful, the court reached a

similar conclusion when granting preliminary approval of a settlement that allowed class

members to file claims for reimbursement of overdraft fees incurred during any two months of

the class period at issue there, in stating that:




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         Reimbursing for the highest amount of overdraft fees incurred in any two calendar
         months-the two months do not have to be consecutive-enables Class Members to
         receive compensation, even though they may have had reasonable notice of the
         manner in which overdraft fee charges are imposed. There is also no cap on the
         number of overdraft fees that Class Members may recover for the two calendar
         months that they select for reimbursement. Limiting the recovery period to two
         months also prevents chronic overdrafters, who had notice of National City
         Bank’s overdraft policies yet continued incurring overdraft fees anyway, from
         being unfairly rewarded for their behavior. It appears to be, therefore, a
         reasonable allocation methodology for the settlement funds, with the remaining
         funds then distributed among Class Members on a pro rata basis.

2011 WL 87235, *6 (D.D.C. Jan. 11, 2011). Thus, the allocation method provided for under the

Settlement takes is tailored to the facts of this case and is fair, reasonable, and adequate. The

Court overrules the objections of the PEC Objectors, and Objectors Vitali, Scyoc, Ackerson, and

Albright, all of whom complain that recovery should not be limited to a 45-day period.21

         B.     Claims Process

         As discussed above, a number of Objectors have argued that various aspects of the claims

process are unfair, unduly burdensome on Class Members, and designed to deter claims. While

some of the Objectors’ concerns about the claims process are indeed concerning, they are not

serious enough to warrant rejection of the settlement in its entirety.

         A few initial points about the claims process: First, many of the concerns about the

claims process were voiced before data about the Class’s response to the settlement was

available. Again, Class Members have filed more than 100,000 claims. This excellent response

strongly suggests that many of the concerns about the allegedly burdensome or confusing

character of the claims process were unwarranted. Next, the Court has reviewed the claim form


21
   Objector Cannata takes issue with the cy pres aspect of the settlement, and argues that distributions to
Class Members should be “large enough so as to exhaust the fund,” such that no cy pres is needed. In
their papers and at the fairness hearing, Class Counsel confirmed that because of the large number of
claims filed by the Class, there will be no cy pres distribution. Fairness Hearing Tr. at 16-17; see also id.
at 88; Pl. Mem. at 34. For this reason, the Court need not discuss the cy pres aspects of the settlement
further.


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and concludes that it is not unduly burdensome, long, or complex. All information called for on

the form is required of the claims administrator in order for it to process claims. See In re

WorldCom. Inc. Sec. Litig., 2004 WL 2591402, at *12 (S.D.N.Y. Nov. 12, 2004) (holding that

“[t]he [one] objection to the length and complexity of the proof of claim form is * * * meritless,”

as “the information that claimants are required to submit is necessary in order for a fair

distribution of the settlement proceeds”); In re Wireless Telephone Federal Cost Recovery Fees

Litigation, 2004 WL 3671053, at *14 (W.D. Mo. April 20, 2004) (“The objectors also complain

that the claim form for former subscribers is ‘burdensome.’ The one-page form merely requires

a claimant to provide enough information to enable Defendants to search their records to confirm

that the claimant falls within the definition of the relevant subclass.      This requirement is

reasonable.”). The parties’ use of a settlement website and toll free number suggests that the

claims process was designed to encourage—not discourage—the filing of claims. For example,

the ability to submit a claim online through the settlement website allowed Class Members to

submit a claim without the need to pay for a stamp. See, e.g. In re Nasdaq Market-Makers

Antitrust Litigation, 2000 WL 37992, *4-5 (S.D.N.Y. Jan. 18, 2000) (recognizing that the

“innovative use” of “electronic claim forms is likely to contribute to a far larger number of

claims”); see also 3 NEWBERG    ON   CLASS ACTIONS § 8:40 (4th ed.) (“the inclusion of toll-free

numbers in notices serves to facilitate, and thereby encourage, the filing of claims”) (collecting

cases). And as the Court observed in its order preliminarily approving the settlement, because

Defendant’s total monetary payment to the settlement fund will be $9.5 million regardless of the

number of claims filed, it seems unlikely that the claims process is designed to limit the “take

rate” of the Class Members.




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       That said, a number of Objectors raised three specific concerns about the claims process.

First, the PEC Objectors, and Objectors Vitali, Katz, and Scyoc argue that the provision of only

16 months of free statements from the date of a Class Member’s request is unfair, when Class

Members could use statements going back to the start of the Class Period to determine which 45-

day period would be the best for making their claim. Assuming that these records are indeed

kept, the Court imagines that there are costs associated with the retrieval and transmission of

years-worth of old account statements. Plaintiffs explain that the number of account statements

that would be provided was a negotiated term, and the Objectors’ arguments that more free

statements should have been provided are “tantamount to complaining that the settlement should

be ‘better,’ which is not a valid objection.” Browning v. YahooA Inc., 2007 WL 4105971, at *5

(N.D. Cal. Nov. 16, 2007) (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir.

1998)). Further, Class Members did not need all of their account statements in order to file a

claim—the claim form provided that if Class Members were unable to locate their statements,

they could submit a form based on the best of their knowledge and belief, identifying only a year

in which they incurred overdraft charges.

       Perhaps the claims process would have functioned better if Class Members had all of

their account statements for the months during the Class Period that they were customers.

However, “the courts have held that their function is not to modify the terms of a proposed

settlement; but rather to approve or disapprove of the proposed settlement ‘as a whole.’” 8

NEWBERG   ON   CLASS ACTIONS § 24:126 (4th ed.) (citing Evans v. Jeff D., 475 U.S. 717, 727

(1986) (“the power to approve or reject a settlement negotiated by the parties before trial does

not authorize the court to require the parties to accept a settlement to which they have not

agreed.”); see also Turner v. Murphy Oil, USA, Inc., 472 F. Supp. 2d 830, 843 (E.D. La. 2007)




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(“the Court is also limited in that it may not make unilateral modifications or alterations to the

proposed settlement, but rather may only accept or reject the agreement as a whole.”); 7B

Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, FEDERAL PRACTICE AND PROCEDURE

§ 1797.5 & n.9 (3d ed. 2005); MANUAL FOR COMPLEX LITIGATION § 21.61. For all of the reasons

explained above, the settlement as a whole is worthy of approval; that the Court believes that one

or a few terms could have been improved—such as the number of free statements made

available—is an insufficient grounds for rejection.

       Next, as explained above, the PEC Objectors argue that it would be impossible for any

Class Member to submit a claim in good faith on the basis of the settlement documents as they

currently are written. Again, the claim form asks customers to identify an amount of “Overdraft

Fees” that he or she incurred during a particular time period, where “Overdraft Fees” are fees

“incurred as a result of the ‘re-sequencing’ of a Fifth Third Debit Card Transaction in non-

chronological order.” The Objectors argue that Class Members cannot know which overdraft

fees are “the result of ‘re-sequencing.’”

       The settling parties conclusively rebutted this objection in the joint supplemental brief

called for by the Court [118]. The parties explain that there are a number of ways that a Class

Member could know that a specific overdraft fee was caused by re-sequencing. First, a Class

Member’s personal knowledge of his account activity, transactional history, and prior overdraft

charges could support a claim made in “the best of [their] knowledge and belief.” Claim Form at

1. The parties explain that based on their knowledge of their daily schedules and purchasing

habits, customers often knew when fees were the result re-ordering. See [118] at 3-4. Other

customers—such as Plaintiff Willard—kept contemporaneous personal financial records from

which they could deduce that they were the victims of high-to-low re-sequencing.              See




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Declaration of Marlene Willard, Ex. 4 to [118] (explaining that she ascertained that she had

incurred fees as a result of re-sequencing by examining her actual receipts and notebook ledger).

       Second, the parties explain that Fifth Third mailed customers an “Overdraft Letter” each

time that a customer incurred an overdraft charge. See Ex. 2 to [118], Affidavit of Thomas K.

Kappes, Jr., at ¶ 7. Each Overdraft Letter, inter alia: detailed the date of overdraft(s), amount the

account was overdrawn by, and amount of overdraft charges incurred; included a summary of

relevant account activity detailing the beginning balance, the amount of any deposits/credits,

whether there were any unavailable funds from deposits, the pending amounts and

withdrawals/debits deducted from any balance, and the ending balance; and stated “[i]f you have

questions or need additional information, please call us at 1-800-972-3030.” Id. ¶¶ 8, 9. The

Overdraft Letters also included the date an item was charged or credited to a customer’s account,

the date each debit card transaction occurred (in the description for each charge), and detailed the

order in which debit card transactions were charged to the customer’s account—from highest to

lowest amount. Id. The parties provided examples of such letters. A Settlement Class Member

could use an Overdraft Letter to determine that a particular overdraft fee was the result of re-

sequencing. [118] at 4-5. If a Class Member did not have his or her relevant Overdraft Letters,

the Class Member could use his or her monthly account statements to determine that multiple

overdraft fees were charged on one day and that the amount of money in the account at the

beginning of the day was sufficient to pay at least one debit card charge. The Class Member

could then use the description of the debit card charges and overdraft fees on the statement and

knowledge of his transactional history and daily activity to come to an informed belief that he

incurred an overdraft fee as the result of Fifth Third’s re-sequencing of debit card transactions.

Finally, Class Members could submit a claim in good faith if they had a conversation with a Fifth




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Third customer service representative, during which they were informed that fees has been

charged as a result of the bank’s re-sequencing policy. According to Defendant, Fifth Third’s

customer service representatives were trained to explain to customers the basis of any overdraft

fees charged, including those resulting from the bank’s re-sequencing of debit card transactions

in non-chronological order. Id. (citing Affidavit of Anna Gise, at ¶ 4, Ex. 3 to [118]).

       All of the above conclusively rebuts the assertion that Class Members could not in good

faith fill out and submit a claim form, and the “proof of the pudding” (Mars Steel Corp., 834

F.2d at 684) is the fact that Class Members have submitted more than 100,000 claims, and none

has submitted an objection or other document complaining that it was impossible for them to file

a claim in good faith.

       Finally, the PEC Objectors and Objector Albright question the very need for a claims

process.   The Keyes/Ratliff Objectors note that in the Bank of America settlement, class

members will be paid directly; they will not be required to submit a claim form. There, the

settlement administrator will identify class members and the harm they incurred and then class

members will have a credit posted to their account, or in the case of former customers, have a

check sent to their most recent address. The Court rejects this objection.

       First, as the Court noted in its prior opinion, there is nothing inherently suspect about

requiring class members to submit claim forms in order to receive payment, see, e.g. Milliron v.

T-Mobile, 2009 WL 3345762, *6 (D.N.J. 2009) (“the Court finds it perfectly appropriate to

require Class members to submit certain information proving they are entitled to collect the relief

awarded in this case”); 3 NEWBERG ON CLASS ACTIONS § 8:45 (4th ed.) (settlements employing

proof of claim requirement are “commonly employed” in consumer fraud cases), especially in a

common fund case like this, where the defendant’s payout is capped regardless of the take rate.




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       Second, and perhaps most importantly, the claims process is a negotiated facet of this

settlement, which, as the Court explained above, is fair as a whole. The Court may not “make

unilateral modifications or alterations to the proposed settlement,” Turner, 472 F. Supp. 2d at

843, such as the substitution of a claims process for a direct payout.

       Third, despite the fact that Defendant presumably knows (or could ascertain) which Class

Members incurred overdraft fees as the result of re-sequencing, there is evidence before the

Court to support the argument that a claims process is not completely superfluous. For one, there

would presumably be costs associated with investigating how much is owed to each Class

Member under the settlement and distributing payments. Had the onus of that process been

placed on Defendant, there may have been less money available to pay claims. Second, there has

been some suggestion that certain customers intentionally overdrafted their accounts, using the

overdraft as an “easy loan program.” Fairness Hearing Tr. at 27:24. The option to file (or to not

file) a claim gives customers who were aware of and assented to Defendant’s re-sequencing

policies the ability to opt out of receiving a payment that they feel they do not deserve. See

Lonardo v. Travelers Indem. Co., 706 F. Supp. 2d 766 (N.D. Ohio 2010) (rejecting objection that

“the [claim] form is unnecessary because it does not provide [defendant] with any information

they do not already have” in part because “the claim form and opt-in procedure are negotiated

components of the settlement that [defendant] insisted upon in order to force Settlement Class

Members to affirm that they would have purchased a lower-priced policy had it been offered to

them.”).

       And finally, it must be noted that a direct-distribution of settlement benefits (at least to

former customers who would be mailed checks) is not a panacea. See, e.g. In re: Educational

Testing Service Praxis Principles of Learning and Teaching Grades 7-12, MDL No. 1643, 2006




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WL 3332829, at *2 (E.D. La. Nov. 15, 2006) (overruling objection that a “claims process for the

expedited payments was unnecessary * * * because the names and addresses of [class members]

are known” and checks could therefore be mailed directly to class members; finding that claims

process prevents checks from being mailed to unverified and old addresses and thereby reduces

undeliverable mail and fraudulently cashed checks).22

         C.     Miscellaneous Objections

         Objectors Albright and Vitali take issue with the fact that Defendant has not admitted

guilt. But Defendant is not required to admit that it did anything wrong when settling a case. In

fact, it “is common to most settlement agreements” that the defendant “does not admit liability.”

Hernandez v. Talman Home Mortg. Corp., 1986 WL 5205, at *3 (N.D. Ill. April 29, 1986); see

also In re Enron Corp. Securities, Derivative & ERISA Litigation, 2008 WL 2566867, at *12

(S.D. Tex. June 24, 2008) (“A settlement is not tantamount to an admission of liability.

Defendants settle for many reasons, such as the avoidance of bad publicity and litigation costs,

the possibility of an adverse verdict, and the maintenance of favorable commercial

relationships.”).

         Objector Scyoc argues that the Class Period should extend through December 31, 2010.

Similarly, Objector Vitali argues that the Class Period ends on July 1, 2010, and Defendant will

have no “repercussions” and Class Members will have no recovery “for the months post July

2010.” Plaintiffs explain that the length of the Class Period was tailored to the facts of this case,

specifically, the effectuation of Regulation E, which provides:



22
  The Keyes/Ratliff Objectors renew their request that the Court postpone any decision on final approval
until after completion of the claims process. This would allow the Court to learn the actual number of
claims filed by class members before granting or denying approval of the settlement. Because the large
number of claims filed suggests no problems with notice to the class or with the claims process, and for
the reasons explained in its previous order on this subject [68], the Court need not delay ruling.


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       (1) Existing account holders. For accounts opened prior to July 1, 2010, the
       financial institution must not assess any fees or charges on a consumer's account
       on or after August 15, 2010 for paying an ATM or one-time debit card transaction
       pursuant to the overdraft service, unless the institution has complied with §
       205.17(b)(1) and obtained the consumer's affirmative consent.

       (2) New account holders. For accounts opened on or after July 1, 2010, the
       financial institution must comply with § 205.17(b)(1) and obtain the consumer's
       affirmative consent before the institution assesses any fee or charge on the
       consumer's account for paying an ATM or one-time debit card transaction
       pursuant to the institution’s overdraft service.

12 C.F.R. § 205.17(c). With the effect of this regulation in mind, the Court concludes that the

length of the Class Period is not a reason that approval of the settlement should be withheld.

       Next, Objector Vitali argues that [i]n recognition of lost interest and “emotional and

financial hardship” suffered by customers as a result of Defendant’s conduct, interest “be taken

into account when repaying the fees incurred.” As this objection simply argues that the amount

awarded to Class Members should be increased, it is “tantamount to complaining that the

settlement should be ‘better,’ which is not a valid objection.” Browning v. YahooA Inc., 2007

WL 4105971, at *5. Similarly, Objector Scyoc’s proposals about how the prospective relief

could be improved are not proper grounds upon which to deny final approval. Id.

       Finally, Objector Ackerson objects that the settlement only covers customers who utilized

debit cards or ATMs, and does not provide reimbursement for fees incurred as a result of

overdrawn checks. The Settlement Agreement provides that Class Members only release claims

that relate to “the use of a Fifth Third Debit Card.” Settlement Agreement at ¶ 34. While the

settlement provides no compensation for overdraft fees that were the result of overdrawn checks,

it does not purport to release such claims either. That the settlement does not cover checks is not

a reason why the approval should be withheld.




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V.       Class Notice

         Constitutional due process and Federal Rule of Civil Procedure 23(c)(2)(B) require that

absent class members receive “the best notice that is practicable under the circumstances,

including individual notice to all members who can be identified through reasonable effort.”

What comprises the best notice possible depends on various elements, including the size of the

class, whether the class members can be easily identified, and the probability notice will reach

the intended audience. See, e.g. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 166-67 (1974)

(considering the size, ease of identifying the class, and probability of receiving notice); Phillips

Petroleum v. Shutts, 472 U.S. 797 (1985). Where lists of class members and their addresses are

readily ascertainable, the court generally demands individual notice. Id. at 173. Here, no one

objects to the sufficiency of Notice, and the Court concludes that it is indeed unobjectionable.23

         The Notice Program was developed and implemented by Hilsoft Notifications, a

professional class action notification company. Cameron R. Azari, Esq., a Hilsoft executive,

filed an affidavit with the Court attesting to the implementation and adequacy of the Notice

Program. See Azari Aff., Ex. C to Pl. Mem. Azari attests that Fifth Third was able to identify

names and contact information for virtually all potential Class Members, and individual Notice

reached approximately 89.7% of potential Settlement Class Members. Id. ¶¶ 7, 13.24 In addition


23
  In its order preliminary approving the settlement [59], the Court preliminarily approved the form and
content of the Notice Plan and approved and appointed Hilsoft Notifications as Notice Specialist. Id. at
¶¶ 10; 11; 14.
24
   Individual Notice was comprised of the following: A summary notice of the settlement (“Summary
Statement Notice”) was included in the monthly statements of all potential Class Members who were
current Fifth Third customers as of December 1, 2010, and who received monthly paper statements by
mail. Id. ¶ 14. The Summary Statement Notices were inserted in the envelopes containing the monthly
paper statements so that the headline of the Summary Statement Notices faced the flap of the envelopes
and the Summary Statement Notices would be the first thing seen when the envelopes were opened. Id.
The outside of the envelopes containing the monthly paper statements mailed to potential Class Members
included a printed “call out” to alert Class Members that important legal information was included. Id.
Additionally, the enclosed statements included text directing Class Members to the enclosed Summary


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to individual notice, the parties disseminated notice by publication on the internet, in a number of

daily newspapers, and via press release.25 The parties also established a toll-free number,

maintained by the Claims Administrator, with which Class Members could listen to answers to

frequently asked questions and/or request that a copy of the Claim Form or Detailed Notice be

mailed to them. Id. ¶ 36. As of March 7, 2011, the toll-free number had handled 66,906 calls

representing 181,206 minutes of use. Id.

         The Court has reviewed the content of all of the various notices, as well as the manner in

which Notice was disseminated, and concludes that the Notice given to the Class fully complied

with Federal Rule of Civil Procedure 23, as it was the best notice practicable, satisfied all

constitutional due process concerns, and provided the Court with jurisdiction over the absent

Class Members. Fed. R. Civ. P. 23(c)(2)(B); Eisen, 417 U.S. at 177-78; Phillips Petroleum, 472

U.S. at 797. Indeed, the high number of claims filed is further proof of the adequacy of the



Statement Notices. Id. ¶ 14. Fifth Third has reported that 1,425,631 account statements including the
Summary Statement Notice were mailed to potential Class Members. Id. ¶ 15. In addition, a Summary
Postcard Notice was mailed to potential Class Members who were Fifth Third customers who did not
receive monthly statements by mail, and to all potential Class Members who were former Fifth Third
customers. Id. ¶ 16. Prior to mailing, the addresses of potential Class Members who were former Fifth
Third account holders were verified and, where appropriate, updated. Id. ¶¶ 16-18. Altogether, 2,711,981
Summary Postcard Notices were mailed to potential Class Members. Id. ¶ 23.
25
   Publication notice of the settlement appeared in a weekday edition of 19 daily newspapers, having a
combined daily circulation of over 3.6 million, in markets where Fifth Third has a significant number of
branch offices. Id. ¶¶ 26-29. Additionally, a Court-approved informational release was issued to
approximately 5,600 press outlets throughout the United States. Id. ¶ 31. Notice was also posted on the
settlement website, www.OverdraftSettlement.com, in English and Spanish. Id. ¶ 33. The settlement
website allows Class Members to view information about the settlement, including copies of the Detailed
Notice, Settlement Agreement, and the Court’s orders regarding the settlement. The settlement website
also contains answers to frequently asked questions and includes contact information for the Claims
Administrator. Id. By visiting the settlement website, Class Members can view and file a Claim Form,
and can download and print a paper Claim Form. Id. As of March 7, 2011, there had been 243,574
website visitor sessions in which 1,291,650 website pages were viewed, which equates to just over 5.3
pages per visitor session. Id. ¶ 34. Additionally, a banner displaying the notice headline was also posted
on Fifth Third’s website, www.53.com, throughout the notice period, which included the address of the
settlement website. Id. ¶ 30.



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Notice program. See In re Agent Orange Product Liability Litigation MDL No. 381, 818 F.2d

145, 169 (2d Cir. 1987) (fact that large number of claims were filed by class members

“suggest[ed] that no practical problem exist[ed] as to the adequacy of the notice”).

VI.    Motion for Fees, Costs, Expenses, and Incentive Awards

       Class Counsel requests approval of attorneys’ fees, costs and expenses, and for approval

of incentive awards for the Class Representatives (see [103]). For the reasons explained below,

the Court approves attorneys’ fees of $3,166,666.            The request for cost and expense

reimbursement of $54,281.32 is denied without prejudice. The Court approves an incentive

award of $1,000 each for Plaintiffs Schulte and Willard.

       A.      Attorneys’ Fees

       “In a certified class action, the court may award reasonable attorney’s fees * * * that are

authorized by law or by the parties’ agreement.” Fed. R. Civ. P. 23(h).             The Settlement

Agreement provides that Class Counsel would “seek approval of the Court for payment of not

more than one-third of the Settlement Fund for attorneys’ fees,” Settlement Agreement at ¶ 11,

and Class Counsel have indeed sought $3,166,666, which is precisely one-third of the $9.5

million fund. In determining whether this sought-after amount is reasonable, the Court “must

balance the competing goals of fairly compensating attorneys for their services rendered on

behalf of the class and of protecting the interests of the class members in the fund.” Skelton v.

Gen. Motors Corp., 860 F.2d 250, 258 (7th Cir. 1988).

       To determine the reasonableness of the sought-after fee in this, a common-fund case,

“courts must do their best to award counsel the market price for legal services, in light of the risk

of nonpayment and the normal rate of compensation in the market at the time.” In re Synthroid

Mktg. Litig., 264 F.3d 712, 718 (7th Cir. 2001) (“Synthroid I”); see also In re Cont’l Ill. Sec.




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Litig., 962 F.2d 566, 572 (7th Cir. 1992) (“[t]he object in awarding a reasonable attorney’s fee

* * * is to give the lawyer what he would have gotten in the way of a fee in arm’s length

negotiation, had one been feasible. In other words the object is to simulate the market where a

direct market determination is infeasible.”). The Seventh Circuit has recognized, however, that

“[s]uch estimation is inherently conjectural[.]” Trans Union Corp. Privacy Litig., 629 F.3d 741,

744 (7th Cir. 2011). In Synthroid I, the Seventh Circuit held that the “market rate for legal fees

depends in part on (1) the risk of nonpayment a firm agrees to bear, in part (2) the quality of its

performance, in part on (3) the amount of work necessary to resolve the litigation, and in part on

(4) the stakes of the case.” Synthroid I, 264 F.3d at 721; see also Taubenfeld v. AON Corp., 415

F.3d 597, 599 (7th Cir. 2005).26 The probability of success at the outset of the litigation is

relevant to this inquiry. See Florin v. Nationsbank of Ga., N.A., 34 F.3d 560, 565 (7th Cir.

1994).

         Consideration of all of the relevant factors reveals that an award of $3,166,666 is

reasonable. First, Class Counsel incurred a significant risk of nonpayment by accepting this

case. Trans Union, 629 F.3d at 746 (“within the set of colorable legal claims, a higher risk of

loss does argue for a higher fee.”). As discussed in detail above, Fifth Third possesses a number

of potentially meritorious defenses to the Actions. At the inception of this lawsuit, there was no

certainty that Plaintiffs would win, or that the case would settle; and if Plaintiffs had lost, Class

Counsel “would receive no fees at all.” Id. All contingent fee class action cases involve some

degree of risk for plaintiffs’ counsel. See Sutton v. Bernard, 504 F.3d 688, 694 (7th Cir. 2007)

(“there is generally some degree of risk that attorneys will receive no fee (or at least not the fee

that reflects their efforts) when representing a class because their fee is linked to the success of

26
   Of course, district courts must exercise caution in focusing on the first factor, for a dogmatic
application of the principle would justify large attorneys’ fees for frivolous class-actions suits that
defendants agreed to settle. In re Trans Union Corp. Privacy Litig., 629 F.3d at 746.


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the suit”). Further, the Seventh Circuit recognizes that “the higher the risk of failure the higher

the contingent fee that a client would have to pay in an arm’s length negotiation with the lawyer

in advance of the suit.” Trans Union, 629 F.3d at 746. That at the inception of this lawsuit,

Plaintiff Shannon Schulte authorized her attorney (Mr. Burton H. Finkelstein) to seek a fee of up

to 33.3% of her potential recovery is further evidence that the risk that Counsel was undertaking

at the beginning of the suit was relatively high. Id.; see also Synthroid I, 264 F.3d at 718-19.

         Second, the quality of Class Counsel’s performance in this litigation favors approval of

the fees requested. Class Counsel have navigated a complicated case and have negotiated a

Settlement Agreement that provides significant benefits to the Class Members.

         Third, the amount of work necessary to resolve this lawsuit was substantial. Synthroid

I, 264 F.3d at 721. As of March 3, 2011, Class Counsel and other attorneys from their firms

reported having spent 2,815.50 hours advancing this matter, which represents a lodestar of

$1,258,385.20. See Summary of Attorney Time, Ex. H to Pl. Mem. Class Counsel undoubtedly

spent additional time since March 3, 2011 attending the fairness hearing and responding to the

Court’s request for additional briefing. While many courts in this circuit have criticized the use

of a lodestar cross-check in common fund cases,27 the fee request here would nevertheless

survive such an analysis. The requested award here would represent a multiplier of less than 2.5,

which is not an unreasonable risk multiplier. See Harman v. Lyphomed, Inc., 945 F.2d 969, 974

(7th Cir. 1991) (noting that “[a risk] multiplier is, within the court’s discretion, appropriate when



27
   “The use of a lodestar cross-check in a common fund case is unnecessary, arbitrary, and potentially
counterproductive.” Will v. General Dynamics Corp., 2010 WL 481874, at *3 (S.D. Ill. Nov. 22, 2010)
(citing In re Synthroid Mktg. Litig., 325 F.3d 974, 979-980 (7th Cir. 2003) (“The client cares about the
outcome alone” and class counsel’s efficiency should not be used “to reduce class counsel’s percentage of
the fund that their work produced.”); In re Comdisco Sec. Litig., 150 F.Supp.2d 943, 948 n.10 (N.D. Ill.
2001) (“To view the matter through the lens of free market principles, [lodestar anaylsis] (with or without
a multiplier) is truly unjustified as a matter of logical analysis.”)).


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counsel assume a risk of non-payment in taking a suit” and “[m]ultipliers anywhere between one

and four * * * have been approved”).

       The Court also observes that the stakes in the case are high given the size of the Class,

the scale of the challenged activity, the complexity and costs of the legal proceedings, and the

amount of money involved. Accord In re AT&T Mobility Wireless Data Services Sales Tax

Litig., 2011 WL 2173746, at *9 (N.D. Ill. June 2, 2011).

       Lastly, the Court should consider attorneys’ fee awards in other class actions when

assessing a fee request. See Taubenfeld, 415 F.3d at 600-601. A number of fee awards in

common-fund cases from within the Seventh Circuit show that an award of 33.3% of the

settlement fund is within the reasonable range. See Taubenfeld v. Aon Corp., 415 F.3d 597, 598–

600 (7th Cir. 2005) (finding that the district court was within its discretion in awarding lead

counsel 30% of a $7.25 million settlement fund); In re Synthroid Mktg. Litig. (Synthroid II), 325

F.3d 974, 980 (7th Cir. 2003) (“We * * * give consumer class counsel 30% of the first $10

million and 25% of the next $10 million * * * from $20 million to $46 million, consumer class

counsel is entitled to 22% of that portion of the recovery. And we think that 15% of all amounts

over that is a decent estimate of the fee that would have been established in ex ante arms’-length

negotiations. Because the consumer class recovered a total of $88 million, the fee comes to

$17.52 million, or 19.9% of the fund.”); Meyenburg v. Exxon Mobil Corp., 2006 WL 2191422, at

*2 (S.D. Ill. July 31, 2006) (“The Court is independently aware that 33 1/3% to 40% (plus the

cost of litigation) is the standard contingent fee percentages in this legal marketplace for

comparable commercial litigation.”); Abrams v. Van Kampen Funds, Inc., 2006 WL 163023, at

*7 (N.D. Ill. Jan. 18, 2006) (“This bench has previously found that 25% is the median fee award

in cases involving recoveries of $5–$15 million. The present case is in a somewhat higher




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category, with the gross recovery being $31,500,000. However, * * * 25% of the net recovery

will be considered the median fee award in the present type of case. The court will award fees

based on that percentage unless the specific circumstances of this case call for a higher or lower

award.”); Gaskill v. Gordon, 942 F.Supp. 382, 388 (N.D. Ill. 1996) (“[T]he Court concludes that

the professionals should recover 38% of the total fund available for distribution. This award

reflects an increase of five percent over the court’s original award of 33% and exceeds the range

of most common fund fee awards.”) (citing Swedish Hosp. Corp. v. Shalala, 1 F.3d 1261, 1272

(D.C. Cir. 1993) for the proposition that “common fund awards typically fall between twenty and

thirty percent”); Goldsmith v. Tech. Solutions Co., 1995 WL 17009594, at *8 (N.D. Ill. Oct. 10,

1995) (“Thirty-three percent appears to be in line with what attorneys are able to command on

the open market in arms-length negotiations with their clients.”).

         In addition, it must be remembered that Class Counsel’s fee award is much less than one-

third of the Class’s total recovery once the value of the prospective relief is taken into account.

Where a settlement includes substantial affirmative relief, such relief must be considered in

evaluating the overall benefit to the class. Will, 2010 WL 481874, at *1 (citing MANUAL              FOR

COMPLEX LITIGATION (Fourth) § 21.71, at 337 (2004); PRINCIPLES OF THE LAW OF AGGREGATE

LITIGATION, § 3.13 (2010); cf. Blanchard v. Bergeron, 489 U.S. 87, 95 (1989) (cautioning

against an “undesirable emphasis” on monetary “damages” that might “shortchange efforts to

seek effective injunctive or declaratory relief.”)). Taking the value of this relief into account is

further proof of the reasonableness of Class Counsel’s sought-after fees.28



28
  Because the Court has approved the amount of attorneys’ fees sought by Class Counsel, it overrules Mr.
Cannata’s objection that the amount of attorneys’ fees sought are excessive. See Cannata Obj. Further,
Mr. Cannata argues that the issue of attorney’s fees should be “deferred until such time as the Court has
received reports indicating the amount of monetary relief that has actually been delivered to the Class.”
Id. at 2. Because there is no cy pres distribution and because the fund’s exposure for the costs of notice


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         B.     Costs and Expenses

         The Federal Rules of Civil Procedure allow the Court, in a certified class action, to

“award reasonable * * * nontaxable costs that are authorized by law or by the parties’

agreement.” Fed. R. Civ. P. 23(h). Here, the agreement states that “Class Counsel shall seek

approval of the Court for reimbursement of reasonable costs and expenses incurred by [Class

Counsel] in litigating, handling, and resolving the Actions.” Settlement Agreement at ¶ 11.

Exhibit 2 to the Affidavit of Sharon Harris (one of Plaintiff’s attorneys) is a list of expenses

incurred through March 4, 2011. The exhibit is a one-page document that shows the amount of

expenses incurred in broad categories only; for example, it shows $12,908.41 in “Hotels,

Transportation, (airfare & taxi service), and Meals.”        The other expenses sought by Class

Counsel are for court reporter fees, filing fees, transcript fees, copying, travel, expert fees, and so

forth.

         Although no one has objected to Class Counsel’s request for reimbursement of costs and

expenses—and thus any such objections are waived—the Seventh Circuit has explained that

district courts must exercise their discretion to “disallow particular expenses that are

unreasonable whether because excessive in amount or because they should not have been

incurred at all.” Zabkowicz v. W. Bend Co., Div. of Dart Indus., Inc., 789 F.2d 540, 553 (7th Cir.

1986) (quoting Henry v. Webermeier, 738 F.2d 188, 192 (7th Cir. 1984)).                The requested

expenses do not seem excessive on their face. However, Class Counsel has provided insufficient

itemization and back-up documentation of the expenses so to allow the Court to make a

meaningful assessment. The Seventh Circuit has explained that “the amount of itemization and

detail required is a question for the market.” Synthroid II, 264 F.3d at 722. “If counsel submit


and administration has been capped by agreement of the parties as discussed above, the Court is aware
now of how much of the fund will actually be distributed to Class Members.


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bills with the level of detail that paying clients find satisfactory, a federal court should not

require more.” Id. Paying clients (especially in today’s marketplace) typically would require

more detail than Class Counsel has provided regarding how its attorneys are spending the Class’s

money. To be sure, the Court is not requesting an encyclopedic accounting of the expenditures;

a summary document containing the amount of detail that generally accompanies a bill of costs

submitted under Fed. R. Civ. P. 54(d) and 28 U.S.C. § 1920 will suffice to enable the Court to

perform its oversight function. Cf. Northbrook Excess & Surplus Ins. Co. v. Proctor & Gamble,

924 F.2d 633, 643 (7th Cir. 1991) (explaining that a prevailing party submitting a bill of costs is

“not required to submit a bill of costs containing a description so detailed as to make it

impossible to economically recover photocopying costs”). But the single page submitted thus far

is simply not enough. Class Counsel’s request for reimbursement of costs and expenses is

denied without prejudice; counsel may re-submit its request along with additional supporting

materials, within 30 days of the date of this order.

       C.       Incentive Payments

       With respect to incentive payments, the Seventh Circuit has explained that such “awards

are justified when necessary to induce individuals to become named representatives.” Synthroid

I, 264 F.3d at 722. In deciding whether an incentive award is proper, and, if so, in what amount,

“relevant factors include the actions the plaintiff has taken to protect the interests of the class, the

degree to which the class has benefitted from those actions, and the amount of time and effort the

plaintiff expended in pursuing the litigation.” Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir.

1998) (approving incentive award of $25,000).            Class Counsel represents that the Class

Representatives participated in this litigation and willingly undertook “the responsibilities and

risks attendant with bringing this class action.” Pl. Mem. at 41. Further, notice of this lawsuit




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was sent to millions of customers and it and similar suits have garnered attention in the press.

Class Representative’s willingness to publically place their names on this suit and open

themselves up to scrutiny and attention is certainly worth some remuneration. The Court grants

the requested incentive award of $1,000 each.

VII.   Conclusion

       For the reasons set forth above, the Court (1) grants final approval of the settlement,

finding that the settlement is fair, reasonable, and adequate; (2) approves Class Counsel’s request

for attorneys’ fees of $3,166,666; (3) denies Class Counsel’s request for cost and expense

reimbursement without prejudice to re-filing within 30 days of the date of this order; and (4)

approves an incentive award of $1,000 each for the Class Representatives, Shannon Schulte and

Marlene Willard.




Dated: July 29, 2011
                                             _____________________________
                                                   Robert M. Dow, Jr.
                                                   United States District Judge




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